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                                                                                                                   JS-6
                                  1                               UNITED STATES DISTRICT COURT
                                  2                              CENTRAL DISTRICT OF CALIFORNIA

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                                  4
                                  5       XL Specialty Insurance Company,
                                                                                  2:20-cv-06540-VAP-SHKx
                                  6                       Plaintiff,
                                  7                         v.                      Order GRANTING Plaintiff’s
                                                                                    Motion for Summary Judgment
                                  8       AIG Specialty Insurance Company,          (Dkt. No. 32) and
                                  9                       Defendant.                DENYING Defendant’s Motion
                                                                                    for Summary Judgment (Dkt.
                                 10
                                                                                    No. 33)
Central District of California
United States District Court




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                                 13
                                            Before the Court are Plaintiff XL Specialty Insurance Company’s
                                 14
                                      Motion for Summary Judgment and Defendant AIG Specialty Insurance
                                 15
                                      Company’s Motion for Summary Judgment. Having considered the papers
                                 16
                                      filed in support of, and in opposition to, the Motions, as well as the
                                 17
                                      arguments advanced at the hearing, the Court GRANTS Plaintiff’s Motion
                                 18
                                      for Summary Judgment and DENIES Defendant’s Motion for Summary
                                 19
                                      Judgment for the following reasons.
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                                 21
                                                                   I.   BACKGROUND
                                 22
                                            On July 23, 2020, Plaintiff XL Specialty Insurance Company
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                                      (“Plaintiff”) initiated this action by filing a Complaint against Defendant AIG
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                                      Specialty Insurance Company (“Defendant”) with the following claims for: (1)
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                                      contractual subrogation; (2) equitable subrogation; and (3) a declaratory
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                                  1   judgment. In the Complaint, Plaintiff alleged Defendant was obligated to
                                  2   pay the full limit of a $10 million directors and officers insurance policy in
                                  3   addition to a “Side A” limit of $1 million to defend and settle several
                                  4   underlying actions, but Defendant failed to pay the additional $1 million
                                  5   “Side A” limit, which caused Plaintiff to pay it. In the Complaint, Plaintiff
                                  6   sought reimbursement of the $1 million, in addition to pre- and post-
                                  7   judgment interest.
                                  8         On September 1, 2020, Defendant filed an Answer to the Complaint
                                  9   and raised twenty-five affirmative defenses.
                                 10         On June 14, 2021, Plaintiff filed its Motion for Summary Judgment, in
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                                 11   addition to a Statement of Uncontroverted Facts and Conclusions of Law
                                 12   (“Plaintiff’s SUF”), including 93 facts, and the Declaration of Ashley
                                 13   Sakakeeny (“Sakakeeny Decl.”), attaching Exhibits A through Q.
                                 14         Also on June 14, 2021, Defendant filed its Motion for Summary
                                 15   Judgment, a Statement of Undisputed Facts (“Defendant’s SUF”), including
                                 16   52 facts, the Declaration of Michael J. Hartley (“Hartley Decl.”), and an
                                 17   Appendix of Evidence, attaching Exhibits 1 through 40.
                                 18         On June 21, 2021, the parties opposed each other’s Motion. Plaintiff
                                 19   filed its Opposition in addition to a Statement of Genuine Issues (“Plaintiff’s
                                 20   SGI”) and Supplemental Statement of Undisputed Facts (“Plaintiff’s SSUF”),
                                 21   including 5 additional facts. Defendant filed its Opposition as well as its
                                 22   Opposition to Plaintiff’s Statement of Uncontroverted Facts and Conclusions
                                 23   of Law (“Defendant’s SGI”), including 43 additional undisputed facts
                                 24   (“Defendant’s SSUF”).
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                                  1         On June 28, 2021, the parties filed replies to each other’s opposition
                                  2   papers. Plaintiff filed its Reply to Defendant’s Opposition but did not file a
                                  3   separate response to Defendant’s SGI or SSUF. Defendant filed its Reply
                                  4   to Plaintiff’s Opposition and a Reply to Plaintiff’s SGI and Plaintiff’s SSUF.
                                  5
                                  6                            II.    LEGAL STANDARD
                                  7         A motion for summary judgment or partial summary judgment shall be
                                  8   granted when there is no genuine issue as to any material fact and the
                                  9   moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.
                                 10   56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).
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                                 11         “[W]hen parties submit cross-motions for summary judgment, each
                                 12   motion must be considered on its own merits.” Fair Hous. Council of
                                 13   Riverside Cty., Inc. v. Riverside Two, 249 F.3d 1132, 1136 (9th Cir. 2001)
                                 14   (internal quotations and citations omitted). Thus, “[t]he court must rule on
                                 15   each party’s motion on an individual and separate basis, determining, for
                                 16   each side, whether a judgment may be entered in accordance with the Rule
                                 17   56 standard.” Id. (quoting Wright, et al., Federal Practice and Procedure §
                                 18   2720, at 335-36 (3d ed. 1998)). If, however, the cross-motions are before
                                 19   the court at the same time, the court must consider the evidence proffered
                                 20   by both sets of motions before ruling on either one. Riverside Two, 249 F.3d
                                 21   at 1135-36.
                                 22         Generally, the burden is on the moving party to demonstrate that it is
                                 23   entitled to summary judgment. Margolis v. Ryan, 140 F.3d 850, 852 (9th Cir.
                                 24   1998). “The moving party may produce evidence negating an essential
                                 25   element of the nonmoving party’s case, or . . . show that the nonmoving
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                                  1   party does not have enough evidence of an essential element of its claim or
                                  2   defense to carry its ultimate burden of persuasion at trial.” Nissan Fire &
                                  3   Marine Ins. Co. v. Fritz Companies, Inc., 210 F.3d 1099, 1106 (9th Cir. 2000)
                                  4   (reconciling Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970) and Celotex
                                  5   Corp. v. Catrett, 477 U.S. 317 (1986)). The nonmoving party must then “do
                                  6   more than simply show that there is some metaphysical doubt as to the
                                  7   material facts” but must show specific facts which raise a genuine issue for
                                  8   trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586
                                  9   (1986). A genuine issue of material fact will exist “if the evidence is such
                                 10   that a reasonable jury could return a verdict for the non-moving party.”
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                                 11   Anderson, 477 U.S. at 248.
                                 12         In ruling on a motion for summary judgment, a court construes the
                                 13   evidence in the light most favorable to the non-moving party. Barlow v.
                                 14   Ground, 943 F.2d 1132, 1135 (9th Cir. 1991). “[T]he judge’s function is not []
                                 15   to weigh the evidence and determine the truth of the matter but to determine
                                 16   whether there is a genuine issue for trial.” Anderson, 477 U.S. at 249.
                                 17
                                 18                          III.   EVIDENTIARY ISSUES
                                 19         The parties do not lodge objections to the evidence submitted in
                                 20   support of, or in opposition to the instant Motions. The Court, however, has
                                 21   reviewed independently the admissibility of the evidence that both parties
                                 22   submitted. See Fraser v. Goodale, 342 F.3d 1032, 1036 (9th Cir. 2003)
                                 23   (noting at the summary judgment stage, a district court should “focus on the
                                 24   admissibility of the [evidence’s] contents” and not the form in which the
                                 25   evidence is presented because it is sufficient that a party will be able to
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                                  1   produce evidence in its admissible form at trial); Block v. City of L.A., 253
                                  2   F.3d 410, 418-19 (9th Cir. 2001).
                                  3
                                  4   A.    Defendant’s Evidence
                                  5         Having reviewed each party’s evidence, the Court points out
                                  6   Defendant failed to provide proper authentication for two of its exhibits,
                                  7   Exhibits 9 and 10.
                                  8         “A trial court can only consider admissible evidence in ruling on a
                                  9   motion for summary judgment.” Orr v. Bank of Am., NT & SA, 285 F.3d 764,
                                 10   773 (9th Cir. 2002); see also Weil v. Citizens Telecom Servs. Co., 922 F.3d
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                                 11   993, 998 (9th Cir. 2019) (“we may only consider admissible evidence when
                                 12   reviewing a motion for summary judgment”). At the summary judgment
                                 13   stage, district courts consider evidence with content that would be
                                 14   admissible at trial, even if the form of the evidence would not be admissible
                                 15   at trial. See Fraser v. Goodale, 342 F.3d 1032, 1036 (9th Cir. 2003); Block
                                 16   v. City of L.A., 253 F.3d 410, 418-19 (9th Cir. 2001). Federal Rule of
                                 17   Evidence 901(a) permits authentication “by evidence sufficient to support a
                                 18   finding that the matter in question is what the proponent claims.” Fed. R.
                                 19   Evid. 901(a). “Authentication is a ‘condition precedent to admissibility.’” Orr,
                                 20   285 F.3d at 773 (quoting Fed. R. Evid. 901(a)).
                                 21         Defendant authenticates most of its exhibits filed in support of its
                                 22   Motion through the Declaration of Michael Hartley, defense counsel, who
                                 23   attests that each exhibit is a “true and correct” copy of the document it
                                 24   purports to be and provides additional information, namely that a deponent
                                 25   whose authenticated deposition transcript is also presented as an exhibit,
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                                  1   authenticated each exhibit during his or her deposition, which authenticates
                                  2   the document properly. The Hartley Declaration also explains certain
                                  3   exhibits were produced in discovery by Plaintiff, which provides sufficient
                                  4   authentication to satisfy Rule 901. See Orr, 285 F.3d at 777; Maljack
                                  5   Prods., Inc. v. GoodTimes Home Video Corp., 81 F.3d 881, 889 n.12 (9th
                                  6   Cir. 1996). This is not true for Exhibits 9, 10, however.1
                                  7          In any event, the Court considers Defendant’s Exhibits 9 and 10
                                  8   because Plaintiff has authenticated these documents properly in its motion
                                  9   papers. Defendant’s Exhibit 9 is submitted by Plaintiff in support of its
                                 10   Motion as Exhibit F to the Sakakeeny Declaration and Plaintiff sets forth
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                                 11   sufficient authentication for the document in ¶ 11 of the Sakakeeny
                                 12   Declaration. See Orr, 285 F.3d at 776 (“when a document has been
                                 13   authenticated by a party, the requirement of authenticity is satisfied as to
                                 14   that document with regard to all parties, subject to the right of any party to
                                 15   present evidence to the ultimate fact-finder disputing its authenticity.”).
                                 16   Likewise, Defendant’s Exhibit 10 was also submitted by Plaintiff as Exhibit I
                                 17   to the Sakakeeny Declaration in support of its Motion and ¶ 17 of the
                                 18   Sakakeeny Declaration provides proper authentication for the document. Id.
                                 19          Next, the Court notes Defendant repeated several of its SUFs from its
                                 20   moving papers in its SSUF, yet used different SUF numbers. The Court has
                                 21   compared Defendant’s submissions and it appears the only new facts
                                 22
                                 23      1
                                           The Court notes Defendant’s Exhibits 9 and 10 have been stamped with
                                         Bates numbers that suggest these documents were produced by Plaintiff
                                 24
                                         in discovery. If that is true, there would be no authentication issue with
                                 25      respect to these documents. See id. The Hartley Declaration, however,
                                         does not attest Plaintiff produced Exhibits 9 and 10.
                                 26
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                                  1   Defendant includes in the SSUF that are not included in its SUF filed in
                                  2   support of its Motion are SSUF Nos. 17 and 43. When discussing the
                                  3   undisputed facts below, the Court will cite only to Defendant’s SUFs set
                                  4   forth in support of its Motion and the two new facts set forth in Defendant’s
                                  5   SSUF.
                                  6
                                  7   B.       Request for Judicial Notice
                                  8            The Court next turns to Defendant’s Request for Judicial Notice
                                  9   (“RJN”) in support of its Motion.2 Defendant moves the Court to take judicial
                                 10   notice of the following documents: (1) a complaint filed on September 24,
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                                 11   2018 in Pacific World Corporation v. Levine Leichtman Capital Partners, et
                                 12   al., case no. SC129889 before the Los Angeles Superior Court (“LASC”)
                                 13   (Defendant’s Exhibit 32); (2) a complaint filed on September 25, 2018 in
                                 14   Prospect Capital Corporation v. Levine Leichtman Capital Partners, Inc., et
                                 15   al., case no. SS029343 before the LASC (Defendant’s Exhibit 7); (3) a
                                 16   complaint filed on December 12, 2018 in Levine Leichtman Capital Partners,
                                 17   Inc., et al. vs. Pacific World Corporation, case no. 18MCV00360 before the
                                 18   LASC (Defendant’s Exhibit 17); (4) an amended complaint filed on
                                 19   December 12, 2018 in Prospect Capital Corporation v. Levine Leichtman
                                 20   Capital Partners, Inc., et al., case no. SS029343 before the LASC
                                 21   (Defendant’s Exhibit 18); (5) an amended complaint filed on December 12,
                                 22
                                           2
                                             Some of the exhibit numbers set forth in the RJN were incorrect. For
                                 23        example, the RJN in ¶ 3 refers to Defendant’s Exhibit 18, when in fact the
                                           true document the RJN is referencing is Defendant’s Exhibit 17. The
                                 24
                                           same is true for: ¶ 4, which should refer to Defendant’s Exhibit 18 instead
                                 25        of 19; ¶ 5, which should refer to Defendant’s Exhibit 19 instead of 20; and
                                           ¶ 6, which should refer to Defendant’s Exhibit 20 instead of 21.
                                 26
                                                                                 7
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                                  1   2018 in Pacific World Corporation v. Levine Leichtman Capital Partners,
                                  2   Inc., et al., case no. SC129889 before the LASC (Defendant’s Exhibit 19);
                                  3   (6) a complaint filed on December 21, 2018 in Colleran v. Pacific World
                                  4   Corporation, case no. 18SMCV00414 before the LASC (Defendant’s Exhibit
                                  5   20); (7) a minute order entered on January 25, 2019 by the LASC in case
                                  6   nos. SS029343 and SC129889 (Defendant’s Exhibit 33); (8) a motion to
                                  7   consolidate related cases filed on February 13, 2019 in case no. SC129889
                                  8   before the LASC (Defendant’s Exhibit 34); (9) a minute order entered on
                                  9   April 4, 2019 by the LASC in case nos. SS029343 and SC129889
                                 10   (Defendant’s Exhibit 35); (10) an order entered on April 4, 2019 by the
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                                 11   LASC in case nos. SS029343 and SC129889 (Defendant’s Exhibit 36); (11)
                                 12   the docket of case no. SS029343 before the LASC (Defendant’s Exhibit 37);
                                 13   (12) the docket sheet for case no. SC129889 before the LASC (Defendant’s
                                 14   Exhibit 38); (13) the docket sheet for case no. 18SMCV00360 before the
                                 15   LASC (Defendant’s Exhibit 39); and (14) the docket of case no.
                                 16   18SMCV00414 before the LASC (Defendant’s Exhibit 40).
                                 17          Pursuant to Federal Rule of Evidence 201, a court may properly take
                                 18   judicial notice of matters in the public record. See Marder v. Lopez, 450
                                 19   F.3d 445, 448 (9th Cir. 2006). A court may take judicial notice of a public
                                 20   record not for the truth of the facts recited in the document, but for the
                                 21   existence of the matters therein that cannot reasonably be questioned. See
                                 22   Fed. R. Evid. 201. The court “may take notice of proceedings in other
                                 23   courts, both within and without the federal judicial system, if those
                                 24   proceedings have a direct relation to matters at issue.” U.S. ex rel.
                                 25   Robinson Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th
                                 26
                                                                             8
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                                  1   Cir. 1992) (citation omitted). In Khoja v. Orexigen Therapeutics, the Ninth
                                  2   Circuit explained a court may take “judicial notice of matters of public
                                  3   record,” but “cannot take judicial notice of disputed facts contained in such
                                  4   public records.” Khoja v. Orexigen Therapeutics, 899 F.3d 988, 999 (9th Cir.
                                  5   2018) (citation and quotations omitted). If a court takes judicial notice of a
                                  6   document, it must specify what facts it judicially noticed from the document.
                                  7   Id.
                                  8         Here, the Court finds the complaints filed before the LASC in the
                                  9   underlying related actions, set forth in Defendant’s Exhibits 32, 7, and 17-
                                 10   20, to be relevant to the Court’s analysis of the issues raised in the Motions.
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                                 11   Namely, the complaints set forth the parties to the actions as well as the
                                 12   nature of the claims alleged, which determined what insurance coverage
                                 13   was at issue. Likewise, the Court concludes the docket sheets of each of
                                 14   those cases pending before the LASC, i.e., Defendant’s Exhibits 37 through
                                 15   40, are also relevant here as evidence of the course of each litigation. The
                                 16   Court takes judicial notice of Defendant’s Exhibits 7, 17-20, 32, and 37-40.
                                 17         The Court declines to take judicial notice of Defendant’s Exhibits 33
                                 18   through 35, as those matters are not relevant to the Court’s analysis here.
                                 19   The Court notes none of Defendant’s SUFs cite to or rely on Exhibits 33
                                 20   through 35.
                                 21
                                 22   C.    Plaintiff’s Evidence
                                 23         To the extent the Court has taken judicial notice of the foregoing
                                 24   documents presented by Defendant in support of its Motion, the Court also
                                 25   takes judicial notice of them for purposes of evaluating Plaintiff’s Motion.
                                 26
                                                                             9
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                                   1   Riverside Two, 249 F.3d at 1135-36.
                                   2         The Court also points out the parties submit many of the same
                                   3   documents as exhibits in support of their respective Motions. Throughout
                                   4   this Order, the Court will cite to the applicable evidence and does not cite to
                                   5   both versions presented by the parties.
                                   6
                                   7                                   IV.    FACTS
                                   8         To the extent certain facts or contentions are not mentioned in this
                                   9   Order, the Court has not found it necessary to consider them in reaching its
                                  10   decision.
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                                  11
                                  12   A.    Undisputed Facts
                                  13         The following material facts are supported adequately by admissible
                                  14   evidence and are uncontroverted. They are “admitted to exist without
                                  15   controversy” for the purposes of deciding Plaintiff’s and Defendant’s
                                  16   Motions, respectively. See C.D. Cal. L.R. 56-3.
                                  17
                                  18         1.     Underlying Lawsuits
                                  19         On September 24, 2018, Pacific World Corporation (hereinafter
                                  20   “Pacific World”) filed a complaint against Levine Leichtman Capital Partners,
                                  21   Inc. (“LLCP”) before the Los Angeles Superior Court (“LASC”) in case no.
                                  22   SC129889. (Pl. SUF No. 1.) On September 25, 2018, Prospect Capital
                                  23   Corporation (hereinafter “Prospect Capital”) filed a complaint against LLCP
                                  24   before the LASC in case no. SS029343. (Pl. SUF No. 2.) These two
                                  25   actions are referred to collectively as the “Underlying Lawsuits.” Pacific
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                                   1   World and Prospect Capital were represented in the Underlying Lawsuits by
                                   2   the same counsel and both actions contained nearly identical allegations.
                                   3   (Pl. SUF No. 3.) Amended complaints were filed in the Underlying Lawsuits
                                   4   on December 12, 2018. (Pl. SUF No. 4.) The LASC consolidated both
                                   5   actions for pre-trial purposes. (Def. SUF No. 10.)
                                   6         In the underlying Pacific World action, Pacific World made the
                                   7   following pertinent allegations. Pacific World was a private California
                                   8   corporation that supplied personal care and beauty products to retail stores
                                   9   and it was acquired by LLCP in 2009. (Pl. SUF Nos. 5-6.) LLCP owned
                                  10   90% of Pacific World’s shares and placed Arthur Levine, Lauren Leichtman,
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                                  11   Kimberly Pollack, Steven Hartman, and James Colleran (“Director
                                  12   Defendants”) on Pacific World’s board of directors. (Pl. SUF No. 13.) In
                                  13   September 2014, Prospect Capital loaned Pacific World $215 million. (Pl.
                                  14   SUF No. 7.) The Director Defendants caused Pacific World to obtain the
                                  15   loan from Prospect Capital and then used the loan to make three payments.
                                  16   (Pl. SUF No. 9.) The first payment was a $62 million distribution to Pacific
                                  17   World’s sole shareholder, PWC Holding, which transferred $57 million to its
                                  18   shareholders, including Levine Leichtman Capital Partners IV, L.P. (“LLCP
                                  19   IV”), PWC Investments Group LLC (“PWC Investments”), both of which are
                                  20   affiliates of LLCP. (Id.) The second payment was to the Bank of Montreal to
                                  21   pay off Pacific World’s senior credit facility in the amount of $87 million. (Id.)
                                  22   The third payment was to LLCP IV to pay off a subordinated debt in the
                                  23   amount of $47 million. (Id.)
                                  24         In May 2018, Prospect Capital declared the loan in default. (Pl. SUF
                                  25   No. 8; Def. SUF No. 3.) Upon declaring the default, Prospect Capital seized
                                  26
                                                                              11
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                                   1   voting control of Pacific World’s common stock and replaced its board of
                                   2   directors and officers. (Pl. SUF No. 8.) The Underlying Lawsuits were filed
                                   3   shortly thereafter. (Pl. SUF Nos. 1-2.) Pacific World alleged its claims
                                   4   against each of the Director Defendants arose from their conduct as board
                                   5   members of Pacific World. (Pl. SUF No. 10.) Pacific World alleged the
                                   6   Director Defendants breached their fiduciary duties to Pacific World by
                                   7   approving the 2014 loan transaction and were liable as former directors of
                                   8   Pacific World for approving an unlawful distribution in connection with the
                                   9   transaction. (Pl. SUF Nos. 11, 12; Def. SUF No. 8.) Pacific World also
                                  10   alleged LLCP breached its fiduciary duties to Pacific World as a de facto
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                                  11   director by approving the 2014 transaction. (Pl. SUF No. 13; Def. SUF No.
                                  12   8.) In addition, Pacific World alleged LLCP, LLCP IV, LLCP Partners IV GP,
                                  13   LLC, and PWC Investments (“LLCP Entities”) aided and abetted the Director
                                  14   Defendants’ breach of fiduciary duties to Pacific World. (Pl. SUF No. 14;
                                  15   Def. SUF No. 8.) Pacific World sought damages from the Director
                                  16   Defendants and LLCP Entities including the amount of the distributions
                                  17   made to the LLCP Entities. (Pl. SUF No. 15.)
                                  18         In the underlying Prospect Capital action, Prospect Capital made the
                                  19   following pertinent allegations. LLCP IV and PWC Investments received
                                  20   fraudulent and voidable transfers as part of the 2014 Pacific World loan
                                  21   transaction. (Pl. SUF No. 16; Def. SUF No. 9.) The Director Defendants
                                  22   and LLCP aided and abetted the fraudulent transfers and engaged in civil
                                  23   conspiracy by approving the 2014 transaction. (Pl. SUF Nos. 17-18; Def.
                                  24   SUF No. 9.) Prospect Capital’s claims against the Director Defendants
                                  25   arose from their conduct as Pacific World board members. (Pl. SUF No. 19;
                                  26
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                                   1   Def. SUF No. 9.) Prospect Capital sought damages from the Director
                                   2   Defendants and LLCP Entities in the amount of the distributions made to the
                                   3   LLCP Entities. (Pl. SUF No. 20.)
                                   4         In December 2018, the Director Defendants and LLCP Entities filed
                                   5   complaints against Pacific World before the LASC in case nos.
                                   6   18SMCV00360 and 18SMCV00414 (hereinafter “Advancement Actions”).
                                   7   (Pl. SUF No. 21.) The Advancement Actions set forth the following
                                   8   allegations. The Director Defendants demanded that Pacific World advance
                                   9   their defense costs incurred in the Underlying Lawsuits and indemnify them
                                  10   for a settlement or judgment pursuant to Pacific World’s bylaws. (Pl. SUF
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                                  11   No. 22.) Pacific World refused to advance the Director Defendants’ defense
                                  12   costs or indemnify them for the Underlying Lawsuits. (Pl. SUF No. 23; Def.
                                  13   SUF No. 12.) By filing the Advancement Actions, the Director Defendants
                                  14   and LLCP Entities sought to require Pacific World to advance their defense
                                  15   costs and indemnify them. (Pl. SUF No. 24.) Pacific World contested the
                                  16   Advancement Actions and did not advance or indemnify against any
                                  17   expenses the Director Defendants incurred as a result of defending against
                                  18   the Underlying Lawsuits. (Pl. SUF No. 25.)
                                  19         No substantive rulings were issued, no factual findings were made,
                                  20   and no dispositive motions were filed in the Underlying Lawsuits or the
                                  21   Advancement Actions. (Def. SUF No. 15.) Following a mediation session in
                                  22   January 2020, the Underlying Lawsuits and Advancement Actions were
                                  23   settled, as discussed in more detail below. (Pl. SUF Nos. 80, 82.)
                                  24
                                  25
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                                   1
                                   2          2.    The AIG Policy3
                                   3          Defendant AIG Specialty Insurance Company issued a “Directors &
                                   4   Officers Liability Insurance, Employment Practices Liability Insurance,
                                   5   Fiduciary Liability Insurance Policy” (“AIG Policy”) no. 02-477099-77 for the
                                   6   period of November 1, 2017 to November 1, 2019 to several entities named
                                   7   in the AIG Policy’s Program Participant Endorsements, including PWC
                                   8   Holding in Endorsement no. 39. (Pl. SUF Nos. 26-27; Def. SUF Nos. 30-32;
                                   9   Pl. SSUF No. 1.) Endorsement no. 39 listed PWC Holding as a California
                                  10   corporation located in Lake Forest, California and identified PWC Holding as
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                                  11   a Named Entity and its Insured Representative was listed as LLCP. (Pl.
                                  12   SUF Nos. 29-30; Def. SUF Nos. 33, 36.) Pacific World was an insured
                                  13   Company under the AIG Policy as a Subsidiary of PWC Holding and Pacific
                                  14   World’s board members were Insured Persons in their capacities as board
                                  15   members. (Def. SUF No. 34.) LLCP, LLCP Entities, and their executives,
                                  16   were not Insureds under the AIG Policy. (Pl. SUF No. 27.)
                                  17          Pursuant to Endorsement no. 39, the AIG Policy had a $10 million per
                                  18   policy year limit of liability for the “Directors, Officers, and Private Company
                                  19   Liability Insurance” (“D&O Coverage Section”) issued to PWC Holding. (Pl.
                                  20   SUF No. 31; Def. SGI No. 31; Def. SUF No. 35.) Endorsement no. 39 also
                                  21   had a $1 million “Side A Excess Limit of Liability” (hereinafter referred to as
                                  22   “Side A”) that was the “excess aggregate limit of liability for all Non-
                                  23
                                          3
                                            The Court recites various terms from the insurance policies at issue in
                                  24
                                          this action. Where those terms have specific definitions in the respective
                                  25      insurance policy, the Court capitalizes the term, as done by the insurance
                                          policies.
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                                   1   Indemnifiable Loss solely for Executives of a Company” under the D&O
                                   2   Coverage Section for PWC Holding. (Def. SGI No. 32; Pl. SUF No. 32; Def
                                   3   SUF No. 45.) The excess $1 million coverage was available after the $10
                                   4   million limit of liability coverage was exhausted “for all Non-Indemnifiable
                                   5   Loss and all Loss incurred by an Executive that the Company fails or
                                   6   refused to indemnify or advance to or on behalf of an Executive for any
                                   7   reason, including Financial Insolvency, under this D&O Coverage Section.”
                                   8   (Ward Decl., Exh H at AIG00000208-209.)
                                   9         Coverage A of the AIG Policy’s D&O Coverage Section stated, in part:
                                  10   “[t]his D&O Coverage Section shall pay the Loss of an Individual Insured
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                                  11   arising from a Claim made against such Individual Insured for any Wrongful
                                  12   Act of such Individual Insured, except when and to the extent that the
                                  13   Company has indemnified such Individual Insured.” (Pl. SUF No. 34.) The
                                  14   term Individual Insured included any Executive or Employee of a Company.
                                  15   (Pl. SUF No. 35.) The term Company included PWC Holding Corporation
                                  16   and any subsidiary. (Pl. SUF No. 36.) The term Claim included “any civil,
                                  17   criminal, administrative or regulatory proceeding or arbitration, mediation or
                                  18   other dispute resolution proceeding for monetary or non-monetary or
                                  19   injunctive relief which is commenced by . . . service of a complaint, motion,
                                  20   writ or similar pleading or service of an order.” (Pl. SUF No. 37.) The term
                                  21   Wrongful Act was defined as “with respect to any Executive or Employee of
                                  22   a Company, any actual or alleged act, breach of duty, neglect, error,
                                  23   statement, misstatement, misleading statement, or omission by such
                                  24   Executive or Employee in their respective capacities as such, or any matter
                                  25   claimed against such Executive or Employee of a Company by reason of his
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                                   1   or her status as an Executive or Employee of a Company.” (Pl. SUF No.
                                   2   38.) The term Employee included “any past, present or future: (1) employee
                                   3   other than Executive of a Company, whether such employee is in a
                                   4   supervisory, co-worker or subordinate position or otherwise, including part-
                                   5   time, volunteer, seasonal and temporary employee.” (Ward. Decl., Exh. H at
                                   6   AIG00000163.) The term Executive included “any past, present or future
                                   7   duly elected or appointed director, officer, board observer, trustee or
                                   8   governor, management committee member, member of the management
                                   9   board, supervisory board, advisory board or any other executive committee
                                  10   of a corporation, limited liability company, or joint venture, natural person
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                                  11   general partner of a partnership, natural person limited partner, or
                                  12   equivalent position or any person found to have acted in such position under
                                  13   applicable law.” (Ward Decl., Exh. H at AIG00000163-164.) The term Loss
                                  14   included “damages, judgments, [and] settlements” in addition to defense
                                  15   costs. (Pl. SUF No. 39.) The term Non-Indemnifiable Loss was defined as
                                  16   “Loss that is not Indemnifiable Loss.” (Def. SUF No. 46.) The term
                                  17   Indemnifiable Loss meant “Loss for which a Company has indemnified or is
                                  18   permitted or required to indemnify an Individual Insured pursuant to the
                                  19   fullest extent permitted by the certificate of incorporation, charter, by-laws,
                                  20   articles of association, limited liability company agreement, partnership
                                  21   agreement, operating agreement or other organizational documents of a
                                  22   Company.” (Def. SUF No. 47; Pl. SGI No. 47; Def. Exh. 22 at AOE0705.)
                                  23         The AIG Policy included a clause regarding Other Insurance which
                                  24   stated the AIG Policy “shall apply as primary insurance with respect to . . .
                                  25   any private equity or venture capital liability, general partner liability, or other
                                  26
                                                                               16
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                                   1   similar management or professional liability insurance maintained by any
                                   2   direct or indirect shareholder of the Named Entity including any liability
                                   3   policy maintained by the Insureds’ Representative.” (Pl. SUF No. 40.)
                                   4         The AIG Policy included express exclusions from its D&O Coverage
                                   5   Section (hereinafter “Exclusion 4(g)”), including the following: “the Insurer
                                   6   shall not be liable to make any payment for that portion of Loss in
                                   7   connection with that portion of any Claim made against an Insured: . . . (g)
                                   8   alleging, arising out of, based upon or attributable to any actual or alleged
                                   9   act or omission of an Individual Insured serving in any capacity, other than
                                  10   as an Executive, Employed Lawyer, Controlling Person or Employee of a
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                                  11   Company, or as an Outside Entity Executive of an Outside Entity.” (Def.
                                  12   SUF No. 38; Pl. SGI No. 38; Def. Exh. 22 at AOE0741.)
                                  13
                                  14         3.     The Steadfast Policy
                                  15         Steadfast Insurance Company (“Steadfast”) issued a “Management
                                  16   and Professional Liability Insurance Policy” (“Steadfast Policy”), no. EOC
                                  17   1067176 to LLCP for the period November 19, 2017 to November 19, 2019.
                                  18   (Pl. SUF No. 44.) Under its “Management and Professional Liability
                                  19   Coverage” section, the Steadfast Policy stated it had a $10 million limit of
                                  20   liability for all Claims. (Pl. SUF No. 45.)
                                  21         The Steadfast Policy provided the following:
                                  22         (A) The Insurer shall pay on behalf of each Insured Person, all Loss
                                  23         which an Insured Entity does not actually pay as indemnification to
                                  24         such Insured Person and which the Insured Person incurs on amount
                                  25         of any Claim first made against such Insured Person, individually or
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                                   1         otherwise, during the Policy Period or, if applicable, the Optional
                                   2         Extension Period, for Wrongful Acts[; and]
                                   3         (B) The Insurer shall pay on behalf of an Insured Entity, all Loss which
                                   4         an Insured Entity actually pays, or agrees to pay, as indemnification
                                   5         for, or on behalf of, each Insured Persons, which the Insured Persons
                                   6         incurs on account of any Claim first made against such Insured,
                                   7         individually or otherwise, during the Policy Period or, if applicable, the
                                   8         Optional Extension Period, for Wrongful Acts.
                                   9   (Pl. SUF No. 46.) The term Insured meant each Insured Entity and the
                                  10   Insured Persons. (Pl. SUF No. 47.) The term Insured Entity included the
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                                  11   LLCP Entities and PWC Holding. (Pl. SUF No. 48; see also Def. SUF No.
                                  12   21.) The term Insured Persons included any director of an Insured Entity or
                                  13   “any past, present or future natural person serving, or having served in an
                                  14   Outside Capacity at the specific request or direction of an Insured.” (Pl.
                                  15   SUF No. 49; see also Def. SUF No. 21.) The term Outside Capacity
                                  16   included “any past, present or future service by an Insured Person or other
                                  17   natural person . . . serving or having served at an Insured’s request as a
                                  18   director, officer, general partner, managing partner, manager, managing
                                  19   member, trustee, regent, governor, consultant, advisor, board observer,
                                  20   member of the Board of Managers, members of the management board,
                                  21   member of the supervisory board, or member of any board, operational,
                                  22   management, oversight or committee role of position, of any Outside Entity.”
                                  23   (Pl. SUF No. 50.) The term Outside Entity meant “any Portfolio Company,”
                                  24   including Pacific World. (Pl. SUF No. 51.) The term Claim was defined as a
                                  25   civil proceeding commenced by the filing or service of a complaint against
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                                   1   an Insured. (Pl. SUF No. 52.)
                                   2         The Steadfast Policy, under the heading “Service in Connection with
                                   3   Outside Entities,” stated “this Policy shall be specifically excess of: (a) any
                                   4   amounts actually paid to such Insured Person under any other valid and
                                   5   collectible insurance maintained by the applicable Outside Entity covering
                                   6   such Insured Person for his or her service in such Outside Capacity; and (b)
                                   7   any amounts actually paid to such Insured Person under any valid and
                                   8   collectible indemnification from the applicable Outside Entity.” (Pl. SUF No.
                                   9   53.) The Steadfast Policy also stated, “if Loss from such Claim is not paid
                                  10   to, or on behalf of, an Insured Person by such valid and collectible
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                                  11   insurance” for any reason, “then this Policy will respond on behalf of the
                                  12   Insured Person as if it were primary” but “without prejudice to the Insurer’s
                                  13   excess position.” (Pl. SUF No. 54.) The Steadfast Policy included a
                                  14   subrogation provision, as follows: “[i]n the event of any payment under this
                                  15   Policy, the Insurer shall be subrogated to all of the potential or actual rights
                                  16   of recovery of the Insured up to the amount of the applicable paid loss.” (Pl.
                                  17   SUF No. 55.)
                                  18
                                  19         4.     The XL Policy
                                  20         Plaintiff XL Specialty Insurance Company issued an Excess
                                  21   Insurance Policy (“the XL Policy”), no. ELU153018-18 to LLCP for the period
                                  22   November 19, 2017 to November 19, 2018. (Pl. SUF No. 56.) The XL
                                  23   Policy had a $10 million limit of liability and applied in excess of the
                                  24   Steadfast Policy, i.e., only after the Steadfast Policy was exhausted by
                                  25   actual payment of covered amounts by Steadfast was the XL Policy
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                                                                              19
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                                   1   triggered. (Pl. SUF No. 57; Def. SSUF No. 17.) In the event of the
                                   2   exhaustion of coverage under the Steadfast Policy, the XL Policy would
                                   3   apply in conformance with the Steadfast Policy’s terms, conditions,
                                   4   endorsements and warranties, including its other insurance and subrogation
                                   5   clauses. (Pl. SUF No. 58.)
                                   6
                                   7         5.    Pacific World’s By-Laws
                                   8         Pacific World’s By-Laws included an indemnification provision at
                                   9   Section 3.14. (See Def. Exh. 15 at AOE0478-0485.) Section 3.14(b)
                                  10   stated:
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                                  11         This corporation shall indemnify any person who was or is a party, or
                                  12         is threatened to be made a party, to any proceeding (other than an
                                  13         action by or in the right of this corporation to procure a judgment in its
                                  14         favor) by reason of the fact that such person is or was an agent of this
                                  15         corporation, against expenses, judgments, fines, settlements and
                                  16         other amounts actually and reasonably incurred in connection with
                                  17         such a proceeding if such person acted in good faith and in a matter
                                  18         such person reasonably believed to be in the best interests of this
                                  19         corporation and, in the case of a criminal proceeding, had no
                                  20         reasonable cause to believe the conduct of such person was
                                  21         unlawful. The termination of any proceeding by judgment, order,
                                  22         settlement, conviction, or upon a plea of nolo contendere or its
                                  23         equivalent shall not, of itself, create a presumption that the person did
                                  24         not act in good faith and in a matter which the person reasonably
                                  25         believed to be in the best interests of this corporation or that the
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                                   1         person had reasonable cause to believe that the person’s conduct
                                   2         was unlawful.
                                   3   (Def. Exh. 15 at AOE0478-0479; see also Def. SUF Nos. 48-49; Pl. SGI
                                   4   Nos. 48-49.)
                                   5
                                   6         6.       Coverage for the Underlying Lawsuits and Advancement
                                   7                  Actions
                                   8         In correspondence dated October 30, 2018, Steadfast acknowledged
                                   9   potential coverage for the Underlying Lawsuits under the Steadfast Policy
                                  10   and advised that the LLCP Entities were Insured Entities and the Director
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                                  11   Defendants were Insured Persons under the Steadfast Policy. (Pl. SUF
                                  12   Nos. 59-60; Def. SUF Nos. 18, 24.)
                                  13         Pacific World gave notice of the Underlying Lawsuits to Defendant in
                                  14   October 2018. (Pl. SUF No. 61.) Alex Fooksman (“Fooksman”) was
                                  15   Defendant’s claims handler for the Underlying Lawsuits and he maintained
                                  16   notes regarding Pacific World’s claim. (Pl. SUF Nos. 62-63.) On January 7,
                                  17   2019, Defendant issued Pacific World a coverage letter for the Underlying
                                  18   Lawsuits. (Pl. SUF No. 64.) In its correspondence, Defendant
                                  19   acknowledged potential coverage for the Director Defendants in their
                                  20   capacities as former directors of Pacific World. (Pl. SUF No. 65; Def. SGI
                                  21   No. 65.) On July 10, 2019, Defendant issued a supplemental coverage
                                  22   letter. (Pl. SUF No. 66.). The letter stated defense counsel in the
                                  23   Underlying Lawsuits had informed Defendant AIG’s counsel that Pacific
                                  24   World was not indemnifying the Director Defendants and the Director
                                  25   Defendants and LLCP Entities presented a joint defense to the Underlying
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                                   1   Lawsuits and were represented by the same counsel. (Pl. SUF Nos. 67-68;
                                   2   Def. SGI No. 67.)
                                   3         Defendant initially paid 80% of the joint defense costs for the
                                   4   Underlying Lawsuits. (Pl. SUF No. 69; Def. SGI No. 69; Def. SUF No. 40.)
                                   5   Defendant became aware of the Steadfast Policy in July 2019 and soon
                                   6   thereafter reached an agreement with Steadfast that Steadfast would
                                   7   contribute 45% of the defense costs for the Underlying Lawsuits. (Def. SUF
                                   8   No. 41; see also Pl. SUF Nos. 70-72; Def. SGI Nos. 70-72; Def. SSUF No.
                                   9   43; Pl. SSUF No. 5.) Plaintiff did not participate in the negotiations between
                                  10   Steadfast and Defendant. (Def. SUF No. 50.)
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                                  11          On May 1, 2019, Fooksman entered a claim note that he was
                                  12   “[i]nformed by insured, defense counsel, and broker in writing that the
                                  13   individual defendants PWC directors are not being indemnified by PWC. As
                                  14   such, this became a Side A issue and I issued a check for the retention of
                                  15   $50,000 as a reimbursement.” (Pl. SUF No. 75.) Fooksman testified at his
                                  16   deposition that when he wrote “this became a Side A issue,” he was
                                  17   referring to Coverage A of the AIG Policy’s D&O Coverage Section. (Pl.
                                  18   SUF No. 76; Def. SGI No. 76.)
                                  19         The Underlying Lawsuits were mediated in January 2020. (Pl. SUF
                                  20   No. 79.) Following the mediation, the parties to the Underlying Lawsuits
                                  21   and Advancement Actions entered into a global settlement that resolved all
                                  22   of the legal claims alleged in the Underlying Lawsuits. (Pl. SUF Nos. 80,
                                  23   82.) None of the parties admitted liability. (Pl. SUF No. 81.)
                                  24         Before the mediation, Defendant had paid $7,263,948.90 and
                                  25   Steadfast had paid $2,988,596.98 in defense costs for the Underlying
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                                   1   Lawsuits. (Pl. SUF Nos. 77-78.) Following the mediation and pursuant to
                                   2   the settlement agreement: Steadfast paid the balance of the Steadfast
                                   3   Policy limit ($7,011,403.02), thereby exhausting the Steadfast Policy; and
                                   4   Defendant paid the balance of the AIG Policy’s D&O Coverage Section limit
                                   5   under Endorsement no. 39 ($2,736,051.10), thereafter declaring the AIG
                                   6   Policy exhausted. (Pl. SUF Nos. 83-84, 86.) Defendant did not contribute
                                   7   its $1 million Side A coverage under the AIG Policy to the defense costs or
                                   8   settlement of the Underlying Lawsuits. (Pl. SUF No. 85.)
                                   9         Plaintiff issued a coverage letter on January 13, 2020, which stated in
                                  10   part, “Pursuant to Pacific World’s ByLaws, its Note Purchase Agreement
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                                  11   with LLCP IV, and the Management Agreement between Pacific World and
                                  12   LLCP, Pacific World is obligated to advance defense expenses and
                                  13   indemnify the Insureds in connection with the . . . Actions” but Pacific World
                                  14   refused to do so. (Def. SUF No. 28; see also Def. Exh. 11 at AOE0399-
                                  15   401.) Plaintiff acknowledged potential coverage for the Underlying Lawsuits
                                  16   under the XL Policy. (Def. SUF No. 18; Pl. SGI No. 18.)
                                  17         Plaintiff paid $1,252,545.88 to complete the funding of the settlement
                                  18   of the Underlying Lawsuits and Advancement Actions and reserved its right
                                  19   to seek reimbursement from Defendant. (Pl. SUF Nos. 87-88; Def. SSUF
                                  20   No. 17.)
                                  21         Following the settlement of the Underlying Lawsuits and
                                  22   Advancement Actions, Defendant did not pay for any defense costs after
                                  23   January 2020. (Pl. SUF No. 89; Def. SGI No. 89.) Plaintiff has paid those
                                  24   costs in the amount of $870,157.68. (Pl. SUF No. 90; Def. SGI No. 90.) In
                                  25   addition, Plaintiff has paid for Steadfast’s share of the defense costs since
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                                                                             23
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                                   1   January 2020 in the amount of $1,076,834.10, because the Steadfast Policy
                                   2   was exhausted by the settlement. (Pl. SUF No. 91.) In total, Plaintiff has
                                   3   paid $3,199,537.44 toward the defense and settlement of the Underlying
                                   4   Lawsuits and Advancement Actions. (Pl. SUF No. 92.)
                                   5         Plaintiff and Defendant participated in a non-binding mediation on
                                   6   June 23, 2020 pursuant to the AIG Policy’s Dispute Resolution Process
                                   7   provision, but the parties were not able to resolve their disputes. (Pl. SUF
                                   8   No. 93.)
                                   9
                                  10   B.    Disputed Facts
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                                  11         The parties dispute whether Defendant’s agreement with Steadfast to
                                  12   pay 55% of the defense costs for the Underlying Lawsuits extended to the
                                  13   AIG Policy’s Side A coverage. Defendant presents evidence that it had no
                                  14   agreement with Steadfast or Plaintiff regarding Defendant’s contribution of
                                  15   its Side A coverage to defense or settlement. (Def. SUF No. 51.) Plaintiff
                                  16   presents evidence to suggest Defendant’s agreement with Steadfast to
                                  17   contribute 55% of the defense costs in the Underlying Lawsuits was not
                                  18   limited only to the D&O Coverage Section of the AIG Policy. (Pl. SGI No.
                                  19   51; Pl. SUF No. 70.)
                                  20         The parties also dispute whether Defendant was responsible for
                                  21   providing the primary insurance coverage for the Director Defendants in the
                                  22   Underlying Lawsuits. Plaintiff presents evidence that Defendant was
                                  23   required to provide primary coverage for the Director Defendants pursuant
                                  24   to the express terms of the AIG Policy. (Pl. SUF Nos. 40, 69.) Defendant
                                  25   presents evidence that the AIG Policy did not provide primary coverage for
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                                                                             24
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                                   1   the Director Defendants directly or in their capacity as LLCP executives.
                                   2   (Def. SGI No. 69.) Defendant does not dispute, however, that the AIG
                                   3   Policy stated it applied as primary insurance under certain circumstances.
                                   4   (Def. SGI No. 40 (not disputing Plaintiff’s SUF No. 40 quoting language
                                   5   about “Other Insurance” set forth in the AIG Policy).)
                                   6         Finally, the parties dispute who was responsible for paying the
                                   7   remaining balance of the settlement amount for the Underlying Lawsuits and
                                   8   Advancement Actions and the defense costs after the Steadfast Policy’s $10
                                   9   million limit was reached and the AIG Policy’s D&O Coverage Section’s $10
                                  10   million limit was reached. Plaintiff presents evidence that it paid the
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                                  11   outstanding balance owed on the settlement and for defense costs because
                                  12   Defendant refused to pay its $1 million Side A coverage. (Pl. SUF No. 87.)
                                  13   Defendant presents evidence that Plaintiff was obligated to pay this amount
                                  14   based on Plaintiff’s own obligations under the Steadfast Policy and the XL
                                  15   Policy to provide excess coverage. (Def. SUF No. 87.)
                                  16
                                  17                                V.    DISCUSSION
                                  18   A.    Plaintiff’s Motion
                                  19         Plaintiff moves the Court to enter summary judgment as to its claim
                                  20   for subrogation. Plaintiff argues the AIG Policy provided primary coverage
                                  21   for the Director Defendants for the Underlying Lawsuits and Defendant
                                  22   breached the AIG Policy by refusing to pay the $1 million Side A coverage.
                                  23   Specifically, Plaintiff contends: the Underlying Lawsuits were Side A claims;
                                  24   the Side A coverage applied to the Underlying Lawsuits; the Underlying
                                  25   Lawsuits alleged wrongful acts committed by the Director Defendants in
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                                   1   their capacity as Pacific World directors and sought damages which
                                   2   constituted a loss under the AIG Policy; the AIG Policy required Defendant
                                   3   to pay 100% of the defense costs of the Director Defendants and the
                                   4   settlement amount incurred jointly with the LLCP Entities; and Defendant’s
                                   5   breach of the AIG Policy caused Plaintiff to pay $1 million wrongfully
                                   6   because Defendant was required to pay the full limit of the Side A coverage.
                                   7         In Opposition, Defendant argues Plaintiff’s Motion should be denied
                                   8   for several reasons. First, Plaintiff has not established that Plaintiff was not
                                   9   primarily liable for the $1 million payment, for which it seeks subrogation
                                  10   from Defendant, and that Defendant was primarily liable. According to
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                                  11   Defendant, Plaintiff was primarily liable for the defense costs of its own
                                  12   insureds and the insurance coverage under the XL Policy was not in excess
                                  13   to the AIG Policy. Second, Defendant was not liable for the $1 million Side A
                                  14   coverage, based on the express language of Endorsement no. 39.
                                  15   Specifically, it contends Plaintiff has not shown a non-indemnifiable loss or
                                  16   non-indemnifiable loss solely for an executive, as required by Endorsement
                                  17   no. 39. Defendant also contends Exclusion 4(g) in the AIG Policy precluded
                                  18   Side A coverage. Third, Defendant argues Plaintiff cannot show justice
                                  19   requires the entire $1 million amount of the Side A coverage should be
                                  20   shifted to Defendant.
                                  21         The Court addresses these arguments in turn. Before turning to the
                                  22   parties’ arguments, however, the Court notes it is undisputed that the
                                  23   settlement of the claims alleged in the Underlying Lawsuits was not
                                  24   apportioned among the named defendants and most of the defendants were
                                  25   represented by the same counsel without apportionment of the fees as to
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                                   1   each defendant. Moreover, the Underlying Lawsuits named several entities
                                   2   and individual persons as defendants. Based on these undisputed facts, it
                                   3   cannot be determined exactly what portion of the defense and settlement
                                   4   costs were attributed to the Director Defendants.4 In any event, the focus of
                                   5   this action for subrogation is limited only to the Director Defendants and
                                   6   which entities were responsible for providing insurance coverage for their
                                   7   defense to the Underlying Lawsuits. To the extent the parties raise
                                   8   arguments exceeding the limited scope of Plaintiff’s subrogation claims, the
                                   9   Court will not address them.5
                                  10
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                                  11          1.    Plaintiff’s Subrogation Claims
                                  12          As another preliminary matter, the Court points out Plaintiff’s
                                  13   Complaint alleges three claims, for contractual subrogation, equitable
                                  14   subrogation, and declaratory judgment, yet Plaintiff’s Motion only addresses
                                  15   Plaintiff’s claim for “subrogation.” “Subrogation is defined as the substitution
                                  16   of another person in place of the creditor or claimant to whose rights he or
                                  17   she succeeds in relation to the debt or claim.” Fireman’s Fund Ins. Co. v.
                                  18   Maryland Cas. Co., 65 Cal. App. 4th 1279, 1291 (1998). “In the insurance
                                  19   context, subrogation takes the form of an insurer’s right to be put in the
                                  20   position of the insured for a loss that the insurer has both insured and paid.”
                                  21
                                          4
                                            This supports the agreement between Defendant and Steadfast to split
                                  22      the defense costs 55/45, which Fooksman testified during his deposition
                                  23      was an allocation that “wasn’t [based on] science.” (See Pl. SUF No. 72;
                                          Def. SGI No. 72.)
                                  24      5
                                           The parties’ arguments about whether the AIG Policy or the XL Policy
                                  25      provided coverage for 100% of the Director Defendants’ defense costs fall
                                          outside the scope of the Court’s analysis here.
                                  26
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                                   1   State Farm Gen. Ins. Co. v. Wells Fargo Bank, N.A., 143 Cal. App. 4th 1098,
                                   2   1106 (2006) (quotation marks and citations omitted); see also Interstate Fire
                                   3   & Casualty Ins. Co. v. Cleveland Wrecking Co., 182 Cal. App. 4th 23, 32
                                   4   (2010) (“The subrogated insurer is said to stand in the shoes of its insured,
                                   5   because it has no greater rights than the insured[.] Thus, an insurer cannot
                                   6   acquire by subrogation anything to which the insured has no rights, and may
                                   7   claim no rights which the insured does not have.”) (internal quotation marks
                                   8   omitted); Sampo Japan Ins. Co. of Am. v. Action Exp., LLC, 19 F. Supp. 3d
                                   9   954, 957-58 (C.D. Cal. 2014). An insurer, in its role as subrogee, has no
                                  10   greater rights than those possessed by its insured, and its claims are
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                                  11   subject to the same defenses. See Liberty Mut. Ins. Co. v. Fales, 8 Cal. 3d
                                  12   712, 717 (1973); W. Heritage Ins. Co. v. Frances Todd, Inc., 33 Cal. App. 5th
                                  13   976, 984 (2019) (“The right of subrogation is purely derivative. An insurer
                                  14   entitled to subrogation is in the same position as an assignee of the
                                  15   insured’s claim, and succeeds only to the rights of the insured.”) (internal
                                  16   quotation marks omitted).
                                  17         Here, Plaintiff stands in the shoes of the Director Defendants and, as
                                  18   alleged in the Complaint, pursues their claim to coverage under Side A of
                                  19   the AIG Policy. At the hearing, Defendant argued Plaintiff stands in the
                                  20   shoes of all of its insureds, including LLCP and the LLCP Entities. For
                                  21   purposes of this action, however, Plaintiff stands in the shoes of the Director
                                  22   Defendants only, as only they have a claim to coverage under the AIG
                                  23   Policy.
                                  24         Plaintiff’s contractual and equitable subrogation claims, as alleged,
                                  25   appear to be distinct. Contractual subrogation rights “arise from an express
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                                   1   or implied agreement between the subrogor and subrogee.” In re Hamada,
                                   2   291 F.3d 645, 649 (9th Cir. 2002). In contrast, “[e]quitable subrogation is a
                                   3   legal fiction, which permits a party who satisfies another’s obligation to
                                   4   recover from the party ‘primarily liable’ for the extinguished obligation.” Id.
                                   5   (quoting In re Air Crash Disaster, 86 F.3d 498, 549 (6th Cir. 1996)) (internal
                                   6   quotation marks omitted); see Pulte Home Corp. v. CBR Electric, Inc., 50
                                   7   Cal. App. 5th 216, 228 (2020) (“A general liability insurer that has paid a
                                   8   claim to a third party on behalf of its insured . . . may have an equitable right
                                   9   of subrogation against: . . . other parties who are legally liable to the insured
                                  10   for the harm suffered by the third party (such as by an indemnification
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                                  11   agreement) under a contractual indemnity theory.’”) (emphasis in original)
                                  12   (quoting Interstate Fire & Cas. Ins. Co., 182 Cal. App. 4th at 32). Equitable
                                  13   subrogation is a “‘creature of equity’ and ‘is enforced solely for the purpose
                                  14   of accomplishing the ends of substantial justice.’” In re Hamada, 291 F.3d
                                  15   at 649 (quoting Memphis & L.R.R. Co. v. Dow, 120 U.S. 287, 302 (1887));
                                  16   see also Transcon. Ins. Co. v. Ins. Co. of Penn., 148 Cal. App. 4th 1296,
                                  17   1303 (2007). “The aim of equitable subrogation is to place the burden for a
                                  18   loss on the party ultimately liable or responsible for it and by whom it should
                                  19   have been discharged, and to relieve entirely the insurer or surety who
                                  20   indemnified the loss and who in equity was not primarily liable therefor.”
                                  21   Fireman’s Fund Ins. Co., 65 Cal. App. 4th at 1296 (citations omitted).
                                  22         Although Plaintiff’s subrogation claims appear to be distinct, the Court
                                  23   analyzes them under California’s equitable subrogation standard, see
                                  24   Fireman’s Fund Ins. Co., 65 Cal. App. 4th at 1291-92, which both Plaintiff
                                  25   and Defendant have done in their papers.
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                                   1         Insurance subrogation is governed by state law. See In re Hamada,
                                   2   291 F.3d at 651; see also Mort v. United States, 86 F.3d 890, 893 (9th Cir.
                                   3   1996). The Court has diversity jurisdiction here, 28 U.S.C. § 1332, so it
                                   4   applies California substantive law. See Erie R.R. Co. v. Tompkins, 304 U.S.
                                   5   64 (1938); see also Berkeley Regional Ins. Co. v. Capitol Specialty Ins. Co.,
                                   6   No. CV 20-6622 FMO (Ex), 2021 WL 1321650, at *2, n.2 (C.D. Cal. Mar. 3,
                                   7   2021).
                                   8         The elements of an insurer’s claim for subrogation are: (1) “the
                                   9   insured suffered a loss for which the defendant is liable either as the
                                  10   wrongdoer whose act or omission caused the loss or because the defendant
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                                  11   is legally responsible to the insured for the loss caused by the wrongdoer;”
                                  12   (2) “the claimed loss was one for which the insurer was not primarily liable;”
                                  13   (3) “the insurer has compensated the insured in whole or in part for the
                                  14   same loss for which the defendant is primarily liable;” (4) “the insurer has
                                  15   paid the claim of its insured to protect its own interest and not as a
                                  16   volunteer;” (5) “the insured has an existing, assignable cause of action
                                  17   against the defendant which the insured could have asserted for its own
                                  18   benefit had it not been compensated for its loss by the insurer;” (6) “the
                                  19   insurer has suffered damages caused by the act or omission upon which the
                                  20   liability of the defendant depends;” (7) “justice requires that the loss be
                                  21   entirely shifted from the insurer to the defendant, whose equitable position is
                                  22   inferior to that of the insurer;” and (8) “the insurer’s damages are in a
                                  23   liquidated sum, generally the amount paid to the insured.” Fireman’s Fund
                                  24   Ins. Co., 65 Cal. App. 4th at 1292 (citations omitted); see also W. Heritage
                                  25   Ins. Co., 33 Cal. App. 5th at 984; Pulte Home Corp., 50 Cal. App. 5th at 229.
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                                   1         Although Plaintiff does not organize the Motion or its evidence
                                   2   according to the foregoing eight element of its subrogation claims,
                                   3   Defendant only opposes Plaintiff’s Motion on the grounds that Plaintiff
                                   4   cannot meet its burden as to elements 2 and 7. (See Opp’n; see also Reply
                                   5   at 2 (noting Defendant did “not dispute that six of the eight elements of
                                   6   subrogation . . . are established”).) Hence, the Court limits its analysis to
                                   7   these two elements.
                                   8
                                   9         2.     Subrogation Element 2: Whether the Claimed Loss was
                                  10                One for Which the Insurer was not Liable Primarily
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                                  11         The Court considers whether Plaintiff has met its burden to show it
                                  12   was not liable primarily to its insureds, the Director Defendants, for the $1
                                  13   million Plaintiff seeks to recover from Defendant.
                                  14         Plaintiff presents evidence to show the AIG Policy provided the
                                  15   primary insurance coverage for the Director Defendants with respect to the
                                  16   Underlying Lawsuits, as opposed to the Steadfast and XL Policies. Namely,
                                  17   Plaintiff points to the AIG Policy’s express language that stated it “shall
                                  18   apply as primary insurance with respect to . . . any private equity or venture
                                  19   capital liability, general partner liability, or other similar management or
                                  20   professional liability insurance maintained by any direct or indirect
                                  21   shareholder of [PWC Holding] including any liability policy maintained by
                                  22   [LLCP].” (Pl. SUF No. 40.) According to Plaintiff, the Director Defendants
                                  23   were “Individual Insureds” under the AIG Policy because they were former
                                  24   “Executives” of Pacific World. (Pl. SUF Nos. 34, 65.) Plaintiff argues the
                                  25   Underlying Lawsuits presented “Claims” covered under the AIG Policy
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                                   1   because the Underlying Lawsuits alleged claims against the Director
                                   2   Defendants for their actions taken as board members of Pacific World for
                                   3   “Wrongful Acts,” as defined by the AIG Policy. (Pl. SUF Nos. 10-12, 19, 38,
                                   4   75.) Specifically, Plaintiff contends the Underlying Lawsuits named the
                                   5   Individual Defendants and brought claims against them in their capacities as
                                   6   former board members of Pacific World and for their actions taken in that
                                   7   capacity in 2014 to cause Pacific World to obtain the $215 million loan from
                                   8   Prospect Capital and then distribute the funds. (See Pl. SUF Nos. 10 (in the
                                   9   lawsuit initiated by Pacific World, “the causes of action against each of the
                                  10   Directors ar[o]se from their conduct as Board members of Pacific World.”),
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                                  11   19 (in the lawsuit initiated by Prospect Capital, “the causes of action against
                                  12   each of the Director Defendants arise from their conduct as Board members
                                  13   of Pacific World.”).)
                                  14         Moreover, Plaintiff points to a provision in the Steadfast Policy that
                                  15   stated the Steadfast Policy applied as excess insurance over any coverage
                                  16   maintained by an outside entity, such as PWC Holding or Pacific World. (Pl.
                                  17   SUF No. 53.) Based on this provision in the Steadfast Policy and the
                                  18   provision discussed supra in the AIG Policy indicating it provided primary
                                  19   coverage to its insured for specific claims, Plaintiff argues the Steadfast
                                  20   Policy applied in excess to the AIG Policy and the XL Policy followed in
                                  21   excess to the Steadfast Policy.
                                  22         Plaintiff also contends because Pacific World refused to indemnify the
                                  23   Individual Defendants, coverage under the AIG Policy’s Side A was
                                  24   triggered by its express terms, i.e., coverage for “all Non-Indemnifiable
                                  25   Loss and all Loss incurred by an Executive that the Company fails or
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                                   1   refuses to indemnify or advance to or on behalf of an Executive for any
                                   2   reason . . . under this D&O Coverage Section.” (Pl. SUF No. 33; Ward
                                   3   Decl., Exh. H at AIG00000208-209.) In addition, Plaintiff argues the Side A
                                   4   coverage applied because it was available “solely for the Executives of a
                                   5   Company,” including Director Defendants, as opposed to Coverage A of the
                                   6   AIG Policy, which covered a broader category of any “Loss of an Individual
                                   7   Insured,” including employees and executives of Pacific World. (Pl. SUF
                                   8   Nos. 32, 34-35; Def. Exh. H at AIG00000311.)
                                   9         In Opposition, Defendant contends Plaintiff was the sole insurer for
                                  10   the LLCP Entities and Director Defendants in their capacities as LLCP
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                                  11   executives, Plaintiff had an independent and complete obligation to cover
                                  12   the claims of its insureds, and Plaintiff was primarily liable for those claims.
                                  13   Defendant cites three cases to show when two insurance companies each
                                  14   have an equal obligation to provide a party’s defense or settlement, neither
                                  15   is “primarily liable” over the other. (See Opp’n at 15-17 (discussing Am.
                                  16   States Ins. Co. v. Nat’l Fire Ins. Co. of Hartford, 202 Cal. App. 4th 692
                                  17   (2011), Carter v. Pulte Home Corp., 52 Cal. App. 5th 571 (2020), and
                                  18   Maryland Cas. Co. v. Nationwide Mut. Ins. Co., 81 Cal. App. 4th 1082
                                  19   (2000).) According to the AIG Policy’s Exclusion 4(g), Defendant argues the
                                  20   AIG Policy did not cover claims as to the LLCP Entities or the Director
                                  21   Defendants in their capacities as LLCP executives. Defendant contends the
                                  22   defense costs Plaintiff paid were “jointly incurred together by the LLCP
                                  23   Entities and the [Director] Defendants, who were all jointly represented by
                                  24   Quinn Emmanuel in connection with the Underlying Actions.” (Opp’n at 17.)
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                                   1                   a.   Whether the AIG Policy Applied to the Costs Incurred
                                   2                        by the Director Defendants in the Underlying
                                   3                        Lawsuits
                                   4         As an initial threshold matter, the Court considers the claims alleged
                                   5   in the Underlying Actions to determine whether Plaintiff has met its burden
                                   6   to show the AIG Policy, namely the D&O Coverage Section and Side A
                                   7   coverage, applied to the costs incurred by the Director Defendants in
                                   8   connection with the Underlying Actions. See Nordstrom Inc. v. Chubb &
                                   9   Son, 54 F.3d 1424, 1433 (9th Cir. 1995) (“In determining whether Nordstrom
                                  10   faced any independent nonconcurrent liability, we may only consider the
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                                  11   claims actually settled, which are defined by the allegations in the
                                  12   complaint.”).
                                  13         As discussed supra, the operative complaint in the Prospect Capital
                                  14   action alleged claims against the Director Defendants (defined in the
                                  15   complaint as Arthur Levine, Lauren Leichtman, Kimberly Pollack, Steven
                                  16   Hartman, and James Colleran, the same as in this Order) and stated the
                                  17   claims “ar[o]se from their conduct as Board members of Pacific World, a
                                  18   California corporation.” (Def. Exh. 18 at ¶ 28; Pl. SUF No. 19.) The
                                  19   operative complaint in the Pacific World action contained the same
                                  20   statement. (Def. Exh. 19 at ¶ 22; Pl. SUF No. 10.) Both the Underlying
                                  21   Lawsuits also alleged the Director Defendants were directors of Pacific
                                  22   World and executives of LLPC, except James Colleran, who was Pacific
                                  23   World’s Chief Executive Officer, a member of the Pacific World board, and
                                  24   not affiliated with LLPC. (See Def. Exh. 18 at ¶¶ 18-22; Def. Exh. 19 at ¶¶
                                  25   16-20.)
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                                   1         The Pacific World action brought claims against the Director
                                   2   Defendants for unlawful distribution (count 1) and breach of fiduciary duty
                                   3   (count 2). (Def. Exh. 19.) The Prospect Capital action brought claims
                                   4   against the Director Defendants for aiding and abetting fraudulent transfer
                                   5   (count V) and civil conspiracy to commit fraudulent transfer (count VI). (Def.
                                   6   Exh. 18.) Both actions alleged the Director Defendants engaged in
                                   7   wrongdoing as Pacific World board members in connection with the 2014
                                   8   loan transaction and distributions of the proceeds, by virtue of their positions
                                   9   at LLPC which caused them to have a financial interest in the distributions
                                  10   that were made from the loan proceeds. (See Def. Exh. 18 ¶¶ 166-167,
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                                  11   172; Def. Exh. 19 ¶¶ 122, 126.) For example, as alleged in the Prospect
                                  12   Capital Complaint, the Director Defendants knew Pacific World’s financial
                                  13   outlook was poor, yet they caused Pacific World to obtain a loan they knew
                                  14   Pacific World would be unable to repay. (Def. Exh. 18 at ¶¶ 166-167, 172.)
                                  15   Prospect Capital alleged the Director Defendants acted to benefit LLCP and
                                  16   orchestrated the loan for LLCP’s benefit and to Prospect Capital’s detriment.
                                  17   (Id.) The Pacific World Complaint set forth similar allegations. (Def. Exh. 19
                                  18   ¶¶ 122, 126.)
                                  19         The allegations in the Underlying Lawsuits support Plaintiff’s
                                  20   contention that the Underlying Lawsuits named the Director Defendants in
                                  21   their capacities as Pacific World executives and not as LLCP executives.
                                  22   The Court acknowledges the complaints filed in the Underlying Lawsuits
                                  23   identified the Director Defendants as parties and stated each of the Director
                                  24   Defendants, except James Colleran, was both a Pacific World executive and
                                  25   an LLCP executive. The complaints also alleged the Director Defendants
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                                   1   were not disinterested in the 2014 loan transaction and distributions
                                   2   because of their connection to LLCP. The Pacific World and Prospect
                                   3   Capital complaints, however, clearly and unambiguously stated the Director
                                   4   Defendants were sued in their capacities as Pacific World executives only.
                                   5   (See Def. Exh. 18, 19.) Defendant points to Plaintiff’s and Steadfast’s claim
                                   6   notes and coverage letters describing the claims against the Director
                                   7   Defendants as proof that they were brought against the Director Defendants
                                   8   in their capacities as LLCP executives as well. (See Def. SUF Nos. 25, 27-
                                   9   28.) Those descriptions, however, are not relevant for purposes of the
                                  10   Court’s consideration of the scope of the claims alleged; the allegations in
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                                  11   the underlying complaints inform the Court’s decision here. See Nordstrom
                                  12   Inc., 54 F.3d at 1433. As Plaintiff points out, each claim alleged against the
                                  13   Director Defendants in the Underlying Lawsuits necessarily relied on the
                                  14   Director Defendants’ status as Pacific World board members who approved
                                  15   the 2014 loan from Prospect Capital and approved the three distributions at
                                  16   issue. The Director Defendants would not have had an opportunity to
                                  17   approve the 2014 loan and three distributions therefrom but for their
                                  18   positions as Pacific World board members.
                                  19         Next, the Court interprets the language of the AIG Policy to determine
                                  20   whether the claims alleged against the Director Defendants in the
                                  21   Underlying Lawsuits fell under the scope of the AIG Policy’s D&O Coverage
                                  22   Section and Side A coverage. “While insurance contracts have special
                                  23   features, they are still contracts to which the ordinary rules of contract
                                  24   interpretation apply,” including giving “effect to the mutual intention of the
                                  25   parties.” Terrell v. State Farm Gen. Ins. Co., 40 Cal. App. 5th 497, 503
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                                   1   (2019) (quoting Bank of the West v. Sup. Ct., 2 Cal. 4th 1254, 1264 (1992))
                                   2   (quotation marks omitted); AIU Ins. Co. v. Sup. Ct., 51 Cal. 3d 807, 822
                                   3   (1990). “Insurance provisions should be interpreted in their ‘ordinary and
                                   4   popular sense’ unless ‘used by the parties in a technical sense, or unless a
                                   5   special meaning is given to them by usage, in which case the latter must be
                                   6   followed.’” Terrell, 40 Cal. App. 5th at 503 (citations omitted). “[W]hen the
                                   7   terms of an insurance policy are clear and unambiguous, the interpretation
                                   8   of the policy is an issue of law which may be resolved by summary
                                   9   judgment.” Rogers v. Prudential Ins. Co., 218 Cal. App. 3d 1132, 1137
                                  10   (1990). The contractual language governs interpretation of the insurance
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                                  11   contract if it is “clear and explicit, and does not involve an absurdity.” Cal.
                                  12   Civ. Code § 1638. A policy provision is ambiguous when it is capable of two
                                  13   or more constructions, either of which is reasonable. See Powerline Oil Co.,
                                  14   Inc. v. Sup. Ct., 37 Cal. 4th 377, 390 (2005); Waller v. Truck Ins. Exch., Inc.,
                                  15   11 Cal. 4th 1, 18 (1995).
                                  16         Having considered the relevant terms in the AIG Policy, the Court
                                  17   does not find any to be ambiguous. Cf. Powerline Oil Co. Inc., 37 Cal. 4th
                                  18   at 390. In light of the AIG Policy’s clear and unambiguous terms, the Court
                                  19   interprets the AIG Policy’s D&O Coverage Section to apply to the claims
                                  20   alleged against the Director Defendants in the Underlying Lawsuits. See
                                  21   Rogers, 218 Cal. App. 3d at 1137. In particular, the Director Defendants
                                  22   were executives of Pacific World, so they qualified as “Individual Insured”
                                  23   under the AIG Policy. (See Ward Decl., Exh. H at AIG00000192,
                                  24   AIG00000311; Pl. SUF No. 35.) The claims alleged against the Director
                                  25   Defendants fell under the AIG Policy’s definition of “Claim” because they
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                                   1   were brought in a civil proceeding for monetary damages and the civil action
                                   2   was commenced by the filing and service of a complaint. (See Ward Decl.,
                                   3   Exh. H at AIG00000159-160; Pl. SUF No. 37.) The claims alleged against
                                   4   the Director Defendants also fell under the AIG Policy’s definition of
                                   5   “Wrongful Act” because they were brought against the Director Defendants
                                   6   “by reason of his or her status as an Executive or Employee of [Pacific
                                   7   World],” as discussed supra.6 (Ward Decl., Exh. H at AIG00000197-198; Pl.
                                   8   SUF No. 38.) The Director Defendants suffered a “Loss” as defined by the
                                   9   AIG Policy because they incurred defense costs and were subject to a
                                  10   settlement for monetary damages paid to Pacific World and Prospect
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                                  11   Capital. (See Pl. SUF No. 39.)
                                  12          Finally, the Court considers whether the $1 million Side A coverage
                                  13   applied upon the exhaustion of the $10 million D&O Coverage Section
                                  14   coverage. Defendant argues the Side A coverage was not triggered
                                  15   because the defense and settlement costs incurred by the Director
                                  16   Defendants that exceeded the AIG Policy’s D&O Coverage Section $10
                                  17   million limit fell under the definition of “Indemnifiable Loss” under the Policy,
                                  18   which were not eligible for coverage under Endorsement no. 39. As stated
                                  19   supra, “Indemnifiable Loss” covered all losses that were or should have
                                  20   been indemnified by a Company under the AIG Policy. It is undisputed that,
                                  21   pursuant to Pacific World’s own by-laws, Pacific World was required to
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                                  23      6
                                           Moreover, although not raised by the parties, because Director
                                          Defendant James Colleran was not a LLCP executive, the claims alleged
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                                          against him in his capacity as a Pacific World executive in the Underlying
                                  25      Lawsuits clearly fell only under the terms of the AIG Policy’s D&O
                                          Coverage Section and the Side A coverage.
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                                   1   provide indemnification for the Director Defendants, but it refused. The
                                   2   Court agrees with Defendant that the loss at issue here would not qualify
                                   3   under the AIG Policy’s definition of “Non-Indemnifiable Loss.”
                                   4         The Court compares Endorsement no. 39, which states the Side A
                                   5   coverage was available “for all Non-Indemnifiable Loss solely for Executives
                                   6   of a Company (including Defense Costs) under the D&O Coverage Section,”
                                   7   and the provision of the AIG Policy Plaintiff relies upon: clause 5 of the D&O
                                   8   Coverage Section (hereinafter “clause 5”), which states the Side A coverage
                                   9   is available “for all Non-Indemnifiable Loss and all Loss incurred by an
                                  10   Executive that the Company fails or refuses to indemnify or advance to or
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                                  11   on behalf of an Executive for any reason . . . under this D&O Coverage
                                  12   Section.” (See Def. SUF No. 45; Pl. SUF Nos. 32-33; Ward Decl., Exh. H at
                                  13   AIG00000208-209.)
                                  14         Although the exact language of clause 5 is not included in
                                  15   Endorsement no. 39, clause 5 unambiguously states it was intended to
                                  16   apply “in addition to the provisions of Clause 4 of the General Terms and
                                  17   Conditions” and modify all program participant endorsement pages listed in
                                  18   the AIG Policy. (Ward Decl., Exh. H at AIG00000208.) Applying the general
                                  19   principles of contract interpretation here, the Court concludes clause 5 of
                                  20   the D&O Coverage Section applied here despite its absence on the single
                                  21   page of Endorsement no. 39. Viewing the AIG Policy as a whole,
                                  22   Endorsement no. 39 cannot be viewed reasonably as providing the entire
                                  23   universe of applicable terms as it related to any of the insurance coverage
                                  24   listed, including the Side A coverage. To wit, Endorsement no. 39 included
                                  25   several terms with specific definitions not set forth within the endorsement
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                                   1   page but found in other sections of the AIG Policy and was subject to
                                   2   several terms not listed expressly on the endorsement page. Endorsement
                                   3   no. 39 simply provided a summary of the applicable terms. Clause 5 of the
                                   4   D&O Coverage Section provided further elaboration on the applicable terms
                                   5   for the Side A coverage identified on Endorsement no. 39. In light of the
                                   6   AIG Policy as a whole, including Endorsement no. 39 and the relevant terms
                                   7   set forth in the D&O Coverage Section of the AIG Policy including clause 5,
                                   8   the Court concludes Side A coverage was available for the Director
                                   9   Defendants if they incurred a “Loss” Pacific World failed or refused to
                                  10   indemnify.
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                                  11         Plaintiff has shown Side A coverage was available, for the following
                                  12   reasons. The claims alleged against the Director Defendants in the
                                  13   Underlying Lawsuits were covered claims under the AIG Policy. The
                                  14   Director Defendants were “Executives” of Pacific World, which was a
                                  15   covered “Company” as defined by the AIG Policy. (Ward Decl., Exh. H at
                                  16   AIG00000163-164; Pl. SUF No. 36). Pacific World refused to defend the
                                  17   Director Defendants in the Underlying Lawsuits, satisfying clause 5 of the
                                  18   AIG Policy’s requirement that “all Loss incurred by an Executive that the
                                  19   Company fails or refuses to indemnify or advance to or on behalf of an
                                  20   Executive for any reason . . . under this D&O Coverage Section.” (Ward
                                  21   Decl., Exh. H at AIG00000208-209; Pl. SUF No. 33.) Accordingly, the $1
                                  22   million Side A coverage applied upon the exhaustion of the $10 million D&O
                                  23   Coverage Section. See Rogers, 218 Cal. App. 3d at 1137.
                                  24         Based on the foregoing, Plaintiff has shown the AIG Policy’s D&O
                                  25   Coverage Section and Side A coverage applied to the defense and
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                                   1   settlement costs incurred by the Director Defendants in connection with the
                                   2   Underlying Litigations. Defendant’s own internal claim notes included a
                                   3   comment that Pacific World’s failure to indemnify the Director Defendants in
                                   4   the Underlying Lawsuits was “a Side A issue.” (See Pl. SUF No. 75.)
                                   5         The burden now shifts to Defendant to prove these costs were
                                   6   specifically excluded from the AIG Policy. See Vardanyan v. AMCO Ins. Co.
                                   7   243 Cal. App. 4th 779, 796 (2015) (“‘When an issue of coverage exists, the
                                   8   burden is on the insured to prove facts establishing that the claimed loss
                                   9   falls within the coverage provided by the policy’s insuring clause.
                                  10   [Citations.] Once the insured has made that showing, the burden is on the
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                                  11   insurer to prove the claim is specifically excluded.’”) (quoting MRI
                                  12   Healthcare Ctr. of Glendale, Inc. v. State Farm Gen. Ins. Co., 187 Cal. App.
                                  13   4th 766, 777 (2010)).
                                  14
                                  15                 b.   Whether Exclusion 4(g) Precluded Coverage of the
                                  16                      Costs Incurred by the Director Defendants Defending
                                  17                      Against and Settling the Underlying Lawsuits
                                  18         As mentioned supra, Defendant argues the Underlying Lawsuits
                                  19   brought claims against the Director Defendants in their capacities as
                                  20   executives of Pacific World and LLCP, which rendered the claims, and the
                                  21   Director Defendants’ liability therefrom, not covered under the AIG Policy
                                  22   pursuant to Exclusion 4(g). In addition, Defendant argues because the
                                  23   Director Defendants were also executives of LLCP, their dual affiliation
                                  24   rendered their actions excluded from coverage under the AIG Policy’s Side
                                  25   A coverage.
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                                   1         As stated supra, Exclusion 4(g) stated: “the Insurer shall not be liable
                                   2   to make any payment for that portion of Loss in connection with that portion
                                   3   of any Claim made against an Insured: . . . (g) alleging, arising out of, based
                                   4   upon or attributable to any actual or alleged act or omission of an Individual
                                   5   Insured serving in any capacity, other than as an Executive, Employed
                                   6   Lawyer, Controlling Person or Employee of a Company, or as an Outside
                                   7   Entity Executive of an Outside Entity.” (Def. Exh. 22 at AOE0741.)
                                   8         Under California law, “policy exclusions are strictly construed.”
                                   9   E.M.M.I. Inc. v. Zurich Am. Ins. Co., 32 Cal. 4th 465, 471 (2004); see also
                                  10   Palp, Inc. v. Williamsburg Nat. Ins. Co., 200 Cal. App. 4th 282, 290 (2011)
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                                  11   (“An insurance policy’s coverage provisions must be interpreted broadly to
                                  12   afford the insured the greatest possible protection, while a policy’s
                                  13   exclusions must be interpreted narrowly against the insurer.”) (citing
                                  14   MacKinnon v. Truck Ins. Exch, 31 Cal. 4th 635, 648 (2003)). “The
                                  15   exclusionary clause must be conspicuous, plain and clear.” Id. (internal
                                  16   quotation marks, emphasis, and citation omitted). “This rule applies with
                                  17   particular force when the coverage portion of the insurance policy would
                                  18   lead an insurer to reasonably expect coverage for the claim purportedly
                                  19   excluded.” MacKinnon, 31 Cal. 4th at 648.
                                  20         In support of its arguments, Defendant cites several cases
                                  21   interpreting exclusion provisions in insurance contracts to prohibit coverage.
                                  22   (See Opp’n at 25-28.) As to the cases Defendant relies upon that are non-
                                  23   binding, out-of-Circuit, and do not interpret California law, the Court is not
                                  24   persuaded to follow their reasoning and does not discuss them further.
                                  25   The Court now turns to the California authority Defendant cites. Defendant
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                                   1   cites to Acceptance Ins. Co. v. Syufy Enter., 69 Cal. App. 4th 321 (1999), for
                                   2   the following proposition:
                                   3         California courts have consistently given a broad interpretation to the
                                   4         terms ‘arising out of’ or ‘arising from’ in various kinds of insurance
                                   5         provisions. It is settled that this language does not import any
                                   6         particular standard of causation or theory of liability into an insurance
                                   7         policy. Rather, it broadly links a factual situation with the event
                                   8         creating liability, and connotes only a minimal causal connection or
                                   9         incidental relationship.
                                  10   Syufy, 69 Cal. App. 4th at 328.
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                                  11         In Syufy, a contractor, C&C, “contracted with Syufy to upgrade the
                                  12   lighting and temperature controls at a theater owned by Syufy.” Syufy, 69
                                  13   Cal. App. 4th at 324. C&C had a general liability policy with insurer AIC,
                                  14   which named Syufy as an additional insured with respect to any liability
                                  15   arising out of C&C’s work. Id. An employee of C&C sued after being injured
                                  16   by a roof hatch at the theater; the employee alleged Syufy failed to maintain
                                  17   a safe closing mechanism on the hatch and failed to warn about the
                                  18   defective hatch. Id. AIC defended Syufy as an additional insured under its
                                  19   policy, and eventually funded a settlement with the employee. Id. at 325.
                                  20   AIC then sued Syufy and its insurer, Reliance, for declaratory relief,
                                  21   indemnification, and equitable contribution. AIC asserted that the
                                  22   employee’s injury did not arise out of C&C’s work, and therefore Syufy was
                                  23   not an additional insured under the AIC policy. Id. Following a summary
                                  24   judgment in favor of Reliance, AIC appealed.
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                                   1         The appellate court affirmed. C&C’s insurance policy with AIC
                                   2   included an additional insured provision providing that Syufy was an
                                   3   additional insured under the policy, “‘but only with respect to liability arising
                                   4   out of “your work” for that insured by or for you.’ The policy specified that
                                   5   ‘you’ and ‘your’ referred to C&C, the named insured.” Id. at 324. AIC
                                   6   argued in part that Syufy was not an additional insured under the
                                   7   circumstances, because the employee was injured as he “was leaving the
                                   8   job site, through a roof hatch on which C&C performed no work, and which
                                   9   injured him solely because of Syufy’s negligent maintenance.” Id. at 326.
                                  10   AIC asserted that “its additional insured endorsement would not apply to
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                                  11   Syufy’s liability for [the employee’s] injury under California case law
                                  12   interpreting the policy term ‘arising out of,’” because the employee’s injury
                                  13   “was attributable solely to Syufy's negligent maintenance of the roof hatch.”
                                  14   Id. at 327.
                                  15         The Court of Appeal rejected this contention, noting, as quoted above,
                                  16   courts’ broad interpretation of the phrase “‘arising out of.’” Id. at 328. The
                                  17   court found the employee’s injury “clearly ‘arose out of’ the work he was
                                  18   performing on the roof of Syufy's building. The relationship between the
                                  19   defective hatch and the job was more than incidental, in that [the employee]
                                  20   could not have done the job without passing through the hatch. The fact
                                  21   that the defect was attributable to Syufy’s negligence is irrelevant, since the
                                  22   policy language does not purport to allocate coverage according to fault.”
                                  23   Id. at 328-329. The court stated that when an insurer “grants coverage for
                                  24   liability ‘arising out of’ the named insured’s work, the additional insured is
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                                   1   covered without regard to whether injury was caused by the named insured
                                   2   or the additional insured.” Id. at 330.
                                   3         The Court finds the Syufy decision instructive but distinguishable as
                                   4   applied to the facts presented in this case for two reasons. First, the Syufy
                                   5   court’s interpretation of the “arising out of” language in the applicable
                                   6   insurance policy was in favor of the insured, not in favor of the insurer. In
                                   7   other words, the court construed the term broadly to find coverage for the
                                   8   claimed loss. Second, Syufy did not interpret a policy exclusion, which must
                                   9   be construed narrowly under California law. See E.M.M.I. Inc., 32 Cal. 4th
                                  10   at 471; MacKinnon, 31 Cal. 4th at 648.
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                                  11         Defendant also relies on Medill v. Westport Ins. Co., 143 Cal. App. 4th
                                  12   819 (2006). The insurance policy at issue in Medill excluded from the
                                  13   definition of “loss” any damages “arising out of” a violation of securities law
                                  14   “or any insured’s issuance or endorsement of stocks, bonds, securities,
                                  15   annuities, or other financial instruments.” Medill, 143 Cal. App. 4th at 832
                                  16   (internal quotation marks omitted). The court concluded the policy’s
                                  17   exclusion of coverage in the event any insured engaged in the excluded
                                  18   activity applied because, although the directors and officers did not engage
                                  19   in the excluded activity, other insureds did. Id.
                                  20         The Court does not find Medill persuasive because, here, the AIG
                                  21   Policy’s Exclusion 4(g) did not exclude from coverage all otherwise covered
                                  22   claims if any insured engaged in excludable conduct, unlike in Medill. Even
                                  23   if it did, Defendant does not present evidence to show any insured engaged
                                  24   in excludable conduct to trigger Exclusion 4(g) except to argue the
                                  25   Underlying Lawsuits brought claims against the Director Defendants in their
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                                   1   capacities as LLCP executives. The Court has rejected this argument,
                                   2   supra, and does so again here.
                                   3         Construing Exclusion 4(g) as broadly as Defendant suggests would
                                   4   require the Court to re-write the language of the exclusion. Cf. Rosen v.
                                   5   State Farm Gen. Ins. Co., 30 Cal. 4th 1070, 1073 (2003) (“[W]e do not
                                   6   rewrite any provision of a contract, . . . for any purpose.”). The Court
                                   7   declines Defendant’s invitation. If Defendant intended to exclude from the
                                   8   AIG Policy’s D&O Coverage Section any liability for actions taken by any
                                   9   employee or executive of Pacific World who was sued in their capacity as a
                                  10   Pacific World employee or executive, then Defendant could have included a
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                                  11   term in the AIG Policy providing such an exclusion. As written, Exclusion
                                  12   4(g) does not provide such an exclusion. Likewise, contrary to Defendant’s
                                  13   argument, the AIG Policy did not exclude from coverage all actions taken by
                                  14   a Pacific World executive who was also an executive of another non-
                                  15   covered company, nor did the Side A coverage include a statement that
                                  16   such coverage was only available for an executive who was not also an
                                  17   executive of another company. The AIG Policy could have been drafted to
                                  18   contain such exclusions, but it was not.
                                  19         Construing Exclusion 4(g) narrowly, the Court concludes the claims
                                  20   alleged against the Director Defendants in the Underlying Lawsuits did not
                                  21   “arise out of” excluded activity under Exclusion 4(g) because they were
                                  22   alleged against the Director Defendants in their capacities as Pacific World
                                  23   executives only, as discussed at length supra. In other words, the
                                  24   allegations in the Underlying Lawsuits did not state the Director Defendants
                                  25   were “serving in any capacity, other than as an [e]xecutive” of Pacific World
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                                   1   when they approved the 2014 loan or 3 distributions, nor did the claims
                                   2   “arise out of” the Director Defendants operating as LLCP executives when
                                   3   they did so. (Def. Exh. 22 at AOE0741.) As such, the Underlying Lawsuits
                                   4   did not allege the Director Defendants engaged in excludable conduct, nor
                                   5   that the Director Defendants’ liability “arose out of” their engagement in
                                   6   excluded activity under Exclusion 4(g).
                                   7          Even if the conduct Director Defendants allegedly engaged in that
                                   8   gave rise to the Underlying Lawsuits was in their capacity as LLCP
                                   9   executives as well as in their capacity as Pacific World executives, the Court
                                  10   does not construe Exclusion 4(g) as excluding coverage under the AIG
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                                  11   Policy’s D&O Coverage Section or Side A here. The language of Exclusion
                                  12   4(g) does not address when liability arises from actions taken by covered
                                  13   executives in a covered and non-covered capacity. To the extent this
                                  14   creates an ambiguity, “[a]ny ambiguous terms are resolved in the insureds’
                                  15   favor, consistent with the insureds’ reasonable expectations.” Safeco Ins.
                                  16   Co. v. Robert S., 26 Cal. 4th 758, 763 (2001). The Court construes
                                  17   Exclusion 4(g) narrowly and in favor of coverage under the AIG Policy,
                                  18   including the D&O Coverage section and Side A, for the Director
                                  19   Defendants.7
                                  20          The Court concludes the AIG Policy’s Exclusion 4(g) did not apply to
                                  21   the Underlying Lawsuits and Defendant has failed to meet its burden to
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                                           In any event, Defendant seems to overlook the undisputed fact that
                                  23      James Colleran was a Director Defendant who had no affiliation with
                                          LLCP, was sued only in his capacity as an executive of Pacific World, and
                                  24
                                          all of his actions were taken in that capacity. As applied to him, Defendant
                                  25      cannot, and has not, argued the full limits of the AIG Policy’s D&O
                                          Coverage Section and Side A coverage was not available.
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                                   1   show Exclusion 4(g) prohibited the D&O Coverage Section and Side A
                                   2   coverage under the AIG Policy.
                                   3
                                   4                c.    Whether the XL Policy or the AIG Policy Provided
                                   5                      Primary Coverage
                                   6         The Court now returns to whether Plaintiff has met its burden to
                                   7   demonstrate the second element of its subrogation claims, i.e., that the AIG
                                   8   Policy provided the primary coverage for the Director Defendants as to the
                                   9   Underlying Lawsuits. As stated supra, the AIG Policy contained an “Other
                                  10   Insurance” provision that explained the AIG Policy “shall apply as primary
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                                  11   insurance with respect to any “management or professional liability
                                  12   insurance maintained by any direct or indirect shareholder of [PWC Holding
                                  13   Corporation] including any liability policy maintained by [LLCP].” (Ward
                                  14   Decl., Exh H at AIG00000181.) Defendant’s own description of its policy as
                                  15   primary in relation to other policies maintained by PWC Holding Corporation
                                  16   and LLCP is entitled to deference, given this clear and unambiguous term in
                                  17   the AIG Policy. See Pub. Serv. Mut. Ins. Co. v. Liberty Surplus Ins. Co., 205
                                  18   F. Supp. 3d 1161, 1170-71 (E.D. Cal. Aug. 25, 2016); see also Terrell, 40
                                  19   Cal. App. 5th at 503. Courts generally enforce the terms of insurance
                                  20   policies pertaining to allocation issues and the characterization of its own
                                  21   policy as “primary” or “excess.” See Maryland Cas. Co., 81 Cal. App. 4th at
                                  22   1090. Here, Defendant’s characterization of the AIG Policy as primary is
                                  23   determinative of the issue. See Residence Mut. Ins. Co. v. Travelers Indem.
                                  24   Co., 26 F. Supp. 3d 965, 974 (C.D. Cal. 2014) (“the inclusion of an ‘other
                                  25   insurance’ clause in an otherwise primary policy will not convert a primary
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                                   1   policy into ‘true’ excess coverage”). The AIG Policy’s “Other Insurance”
                                   2   term unambiguously stated several categories of other insurance carried by
                                   3   PWC Holding Corporation and LLCP was excess over its own coverage.
                                   4   Defendant’s choice to characterize its own policy as exclusively primary is
                                   5   binding. See Pub. Serv. Mut. Ins. Co., 205 F. Supp. 3d at 1170-71.
                                   6          Plaintiff has also shown the Steadfast Policy issued to LLCP applied
                                   7   in excess to the AIG Policy as to coverage for the claims alleged against the
                                   8   Director Defendants in the Underlying Lawsuits.8 The Steadfast Policy
                                   9   expressly stated it operated in excess to insurance policies covering an
                                  10   “Insured Person” for his or her service in an “Outside Capacity.” (Pl. SUF
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                                  11   No. 53.) Pursuant to the definitions of those clear and unambiguous terms
                                  12   under the Steadfast Policy, the Director Defendants, although indisputably
                                  13   also executives and employees of LLCP, served on the Pacific World board
                                  14   of directors in an “Outside Capacity” and the AIG Policy covered their
                                  15   actions taken in that respect, thereby rendering the Steadfast Policy in
                                  16   excess to the AIG Policy as to those claims. (See Pl. SUF Nos. 46-52; Def.
                                  17   SUF No. 21); see also Terrell, 40 Cal. App. 5th at 503.
                                  18          Furthermore, Plaintiff has shown it is undisputed the XL Policy applied
                                  19   in excess to the Steadfast Policy. (Pl. SUF Nos. 56-58; Def. SSUF No. 17.)
                                  20   Logically, as the Steadfast Policy was in excess to the AIG Policy, and the
                                  21   XL Policy was in excess to the Steadfast Policy, then it follows that the XL
                                  22
                                  23      8
                                            Plaintiff does not argue the Steadfast Policy was in excess to the AIG
                                          Policy in all respects, nor would the Court agree that it was. LLCP and the
                                  24
                                          LLCP Entities were also named in the Underlying Lawsuits and the
                                  25      Steadfast Policy provided primary coverage for the claims alleged against
                                          them.
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                                   1   Policy was in excess to the AIG Policy as to the claims alleged in the
                                   2   Underlying Lawsuits against the Director Defendants.
                                   3         Defendant’s argument that Plaintiff was primarily liable for insuring
                                   4   against the liability of the Director Defendants in the Underlying Lawsuits is
                                   5   not well-taken and is not supported by the evidence before the Court. The
                                   6   Court agrees with Defendant that there is a general principle under
                                   7   California law that states if two insurance companies have independent
                                   8   obligations to provide insurance coverage for the same entities, then neither
                                   9   company’s insurance policy can be primary. See, e.g., Am. States Ins. Co.,
                                  10   202 Cal. App. 4th at 702-03; Carter, 52 Cal. App. 5th at 587-88; Maryland
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                                  11   Cas. Co., 81 Cal. App. 4th at 1091. That general principal does not apply
                                  12   here, however, as the AIG Policy was liable to provide primary coverage to
                                  13   the Director Defendants in their defense against, and settlement of, the
                                  14   Underlying Lawsuits. The coverage under the Steadfast and XL Policies
                                  15   was for LLCP and the LLCP Entities and ran in excess to the AIG Policy as
                                  16   to the Underlying Lawsuits and the Director Defendants.
                                  17         Accordingly, Plaintiff has shown the AIG Policy was the primary
                                  18   insurance policy covering the Director Defendants for the claims alleged
                                  19   against them in the Underlying Lawsuits. Hence, Plaintiff meets its burden
                                  20   as to the second element of its subrogation claims.
                                  21
                                  22         3.     Subrogation Element 7: Whether Justice Requires Shifting
                                  23                the Loss from Plaintiff to Defendant
                                  24         Next, the Court considers whether Plaintiff can meet its burden as to
                                  25   the seventh element of its subrogation claims.
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                                   1         “The seventh element asks whether justice requires that the claimed
                                   2   loss ‘be entirely shifted from the insurer to the defendant, whose equitable
                                   3   position is inferior to that of the insurer.’” Pulte Home Corp., 50 Cal. App.
                                   4   5th at 235 (quoting Interstate Fire & Cas. Ins. Co., 182 Cal. App. 4th at 33-
                                   5   34). “As courts have observed, ‘there is no facile formula for determining
                                   6   superiority of equities, for there is no formula by which to determine the
                                   7   existence or nonexistence of an equity except to the extent that certain
                                   8   familiar fact combinations have been repeatedly adjudged to create an
                                   9   equity in the surety or the third party.’” Id. (citations omitted). Courts have
                                  10   considered the following factors to determine whether equity requires the
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                                  11   shifting of the loss: (1) the cause of the loss; (2) the nature and scope of
                                  12   contractual promises; (3) the receipt of premiums; and (4) public policy. See
                                  13   id. at 236-239.
                                  14         Plaintiff argues it is in a superior equitable position because
                                  15   Defendant breached the AIG Policy when it refused to pay the $1 million
                                  16   Side A coverage for the Director Defendants’ costs to defend against and
                                  17   settle the Underlying Lawsuits. (See Reply at 11-12.)
                                  18         In Opposition, Defendant argues each of these factors weigh in its
                                  19   favor, demonstrating its superior equitable position. In particular, Defendant
                                  20   argues Plaintiff has paid substantially less than Defendant to defend and
                                  21   settle the Underlying Lawsuits, as Defendant expended $10 million and
                                  22   Plaintiff has expended approximately $3.2 million. Defendant also contends
                                  23   Plaintiff insured many more parties to the Underlying Lawsuits than did
                                  24   Defendant, the XL Policy’s $10 million limit was much higher than the $1
                                  25   million Side A coverage under the AIG Policy, and Plaintiff received much
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                                   1   higher premiums than did Defendant. (See Opp’n at 29-30.) The Court
                                   2   discusses these arguments as they relate to the foregoing four factors.
                                   3         “The first factor asks, as between the parties to the subrogation
                                   4   action, which has the greater causal connection to the loss.” Pulte Home
                                   5   Corp., 50 Cal. App. 5th at 236. As applied here, neither Defendant nor
                                   6   Plaintiff had a causal connection to the ultimate loss suffered by Pacific
                                   7   World and Prospect Capital as alleged in the Underlying Actions. Neither
                                   8   was a party in the Underlying Lawsuits and both have only provided
                                   9   insurance coverage to the parties named in the Underlying Lawsuits. In
                                  10   other words, both parties were at least one step removed from the ultimate
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                                  11   loss alleged in the Underlying Lawsuits and they are equally removed from
                                  12   the causal chain of events that gave rise to the Underlying Lawsuits.
                                  13   Although Plaintiff stands in the shoes of the Director Defendants in this
                                  14   subrogation action, the Court concludes this factor is neutral.
                                  15         The second factor “compares the nature and scope of the relevant
                                  16   contractual promises . . . , and as such, is similar to the second and third
                                  17   elements [of a subrogation claim], which ask which party had contractual
                                  18   liability of greater primacy.” Id. at 238. As the Court has discussed at length
                                  19   supra, the AIG Policy provided the primary insurance coverage for the
                                  20   Director Defendants in the Underlying Lawsuits. The Steadfast Policy
                                  21   provided excess coverage to the AIG Policy as to those parties, and the XL
                                  22   Policy provided excess coverage to the Steadfast Policy. The AIG Policy,
                                  23   thus, had “greater equitable responsibility” for providing the defense and
                                  24   settlement costs for the Director Defendants, including the $1 million Side A
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                                   1   coverage. Id. “For purposes of comparing equities, this creates a liability of
                                   2   greater primacy for [Defendant].” Id.
                                   3         The third factor considers whether a party has received premiums as
                                   4   a basis to conclude, in a subrogation context, “that an insurer’s receipt of
                                   5   premiums to insure the risk of loss would result in an unfair windfall to the
                                   6   insurance company if subrogation were permitted.” Id. Although Defendant
                                   7   attempts to paint the premiums it received for the AIG Policy as substantially
                                   8   lower than those premiums received by Plaintiff for the XL Policy, this factor
                                   9   is neutral here because it is undisputed that both Plaintiff and Defendant
                                  10   received premiums for their respective insurance policies and “every insurer
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                                  11   that pays a loss on behalf of its insured will have accepted premiums for the
                                  12   risk.” Interstate Fire & Cas. Ins. Co., 182 Cal. App. 4th at 45.
                                  13         The fourth factor “asks whether public policy should play a role in the
                                  14   fairness analysis.” Pulte Home Corp., 50 Cal. App. 5th at 238. In Interstate
                                  15   Fire & Cas. Ins. Co., 182 Cal. App. 4th at 47, the court weighed the public
                                  16   interest and concluded the following:
                                  17         In our view, it is not a good idea to reward parties who refuse to fulfill
                                  18         their alleged indemnification obligations, particularly under the rubric
                                  19         that they are in as good or better an equitable position as the insurer
                                  20         that did fulfill its alleged indemnification obligation. We believe it is
                                  21         more prudent to permit subrogation, so that a party with an alleged
                                  22         contractual indemnification obligation will be encouraged to step up in
                                  23         the underlying case and either fulfill the obligation (and implicitly help
                                  24         settle the case) or resolve any dispute over the application of the
                                  25         indemnification obligation. If permitting subrogation to the insurer in
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                                   1         any way results in a windfall (because the insurer that accepted
                                   2         premiums to insure against the loss may now shift the loss to the
                                   3         other indemnitor), it would be better for the windfall to go to the one
                                   4         that undisputedly fulfilled its contractual obligations, rather than to the
                                   5         one that allegedly breached them.
                                   6   Interstate Fire & Cas. Ins. Co., 182 Cal. App. 4th at 47. Applying this
                                   7   reasoning here, the Court concludes public policy weighs in favor of shifting
                                   8   the $1 million loss from Plaintiff to Defendant. Plaintiff fulfilled its contractual
                                   9   obligations pursuant to the XL Policy despite the XL Policy operating in
                                  10   excess to the Steadfast Policy, which operated in excess to the AIG Policy
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                                  11   as applied to the defense and settlement costs incurred by the Director
                                  12   Defendants in the Underlying Lawsuits. As discussed supra, Defendant
                                  13   breached its obligations to provide the Side A coverage after the $10 million
                                  14   D&O Coverage Section limit was exhausted. Plaintiff will not enjoy a
                                  15   windfall here, but is simply seeking to recoup the $1 million (plus interest) it
                                  16   was forced to expend because Defendant (wrongfully) refused to pay the
                                  17   Side A coverage. This factor weighs strongly in favor of shifting the $1
                                  18   million loss to Defendant.
                                  19         Having considered the four relevant factors, the Court finds two of the
                                  20   factors are neutral and two weigh, one strongly, in favor of shifting the $1
                                  21   million loss to Defendant. On balance, the factors weigh in favor of shifting
                                  22   the loss to Defendant. Accordingly, Plaintiff has met its burden on element 7
                                  23   of its subrogation claims.
                                  24
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                                   1          4.     Conclusion
                                   2          For the foregoing reasons, the Court concludes Plaintiff has met its
                                   3   burden on each element of its subrogation claims. There is no genuine
                                   4   dispute of material fact that must be presented to a jury. Accordingly,
                                   5   summary judgment in Plaintiff’s favor is appropriate here and the Court
                                   6   GRANTS Plaintiff’s Motion.
                                   7
                                   8   B.     Defendant’s Motion
                                   9          Defendant moves the Court to enter summary judgment in its favor as
                                  10   to each of Plaintiff’s claim. Defendant argues Plaintiff cannot show it was
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                                  11   not primarily liable for the $1 million it paid on behalf of its insureds and that
                                  12   Defendant was primarily liable. Defendant also contends Plaintiff cannot
                                  13   show that “justice requires” that the entire $1 million should be shifted to
                                  14   Defendant. These are the same arguments Defendant raised in opposition
                                  15   to Plaintiff’s Motion.
                                  16          In Opposition, Plaintiff contends it has established all the elements of
                                  17   its subrogation claim, Plaintiff was not primarily liable for the claimed loss,
                                  18   and Defendant breached the AIG Policy when it refused to pay the $1
                                  19   million Side A coverage for the Underlying Lawsuits. Plaintiff also argues
                                  20   “justice requires” that the $1 million loss be shifted from Plaintiff to
                                  21   Defendant because Defendant’s “equitable position is inferior” to Plaintiff’s.
                                  22   These are identical arguments to those raised in Plaintiff’s Motion.
                                  23          Although the Court must consider each cross motion for summary
                                  24   judgment on its own merits and separately, Riverside Two, 249 F.3d at 1136,
                                  25   the Court has already addressed each of these arguments in ruling on
                                  26
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                                   1   Plaintiff’s Motion, supra. The evidence presented in support of, and in
                                   2   opposition to, Defendant’s Motion is the same as that presented with
                                   3   respect to Plaintiff’s Motion. As no new arguments or evidence have been
                                   4   raised in support of, or in opposition to, Defendant’s Motion that the Court
                                   5   did not already consider above, the Court DENIES Defendant’s Motion for
                                   6   the same reasons that it rejected Defendant’s arguments that Plaintiff had
                                   7   failed to prove each element of its subrogation claims.
                                   8
                                   9                                VI.    CONCLUSION
                                  10          For the foregoing reasons, the Court GRANTS Plaintiff’s Motion for
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                                  11   Summary Judgment and DENIES Defendant’s Motion for Summary
                                  12   Judgment.
                                  13          The Court enters judgment in favor of Plaintiff and against Defendant
                                  14   on Plaintiff’s contractual and equitable subrogation claims. The Court shifts
                                  15   the $1 million loss incurred by Plaintiff to Defendant. A separate Judgment
                                  16   will issue, setting forth Defendant’s liability for $1 million, plus pre-judgment
                                  17   interest, to Plaintiff.
                                  18          IT IS SO ORDERED.
                                  19
                                  20       Dated:       7/13/21
                                  21                                                         Virginia A. Phillips
                                                                                        United States District Judge
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